Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 1 of 74 Page ID
                                 #:22982




                         EXHIBIT 22
         Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 2 of 74 Page ID
                                          #:22983
Raghu, Jamie

From:                                                  Wukoson, George
Sent:                                                  Monday, October 12, 2015 6:27 PM
To:                                                    'colin@zeroddos.com'
Cc:                                                    Koonce, Lance
Subject:                                               Preliminary Injunction Order, China Central Television, et al. v. Create New Technology
                                                       HK Limited, et al., Civil Action No. 15-cv-01869 (MMM)(AJW)
Attachments:                                           2015.10.12 Koonce letter to ZERO DDOS and exhibits.pdf; Exhibit 2 to ZERO DDOS
                                                       letter.docx

Follow Up Flag:                                        Follow up
Flag Status:                                           Flagged


To Whom it May Concern,

Please see the attached correspondence and Word version of Exhibit 2.

Sincerely,

George Wukoson | Davis Wright Tremaine LLP
1251 Avenue of the Americas, 21st Floor | New York, NY 10020
Tel: (212) 603-6479 | Fax: (212) 379-5221
Email: georgewukoson@dwt.com | Website: www.dwt.com
Bio: www.dwt.com/people/georgepwukoson

Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Shanghai | Washington, D.C.




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Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 3 of 74 Page ID
                                 #:22984

                                                                       27th Floor
                                                                       1633 Broadway
                                                                       New York, NY 10019-6708

                                                                       Lance Koonce
                                                                       (212) 489-6467 tel
                                                                       (212) 489-8340 fax

                                                                       lancekoonce@dwt.dcom




October 12, 2015




Via Fed Ex and Email

ZERO DDOS LLC

530 W 6th Street
Los Angeles, CA 90017
Tel: +1-775-538-2588

5711 W. Kentucky Avenue
Lakewood, CO 80202

115 S. Pikes Peak
Florence, CO 81226

colin@zeroddos.com

Re:     Preliminary Injunction Order,
        China Central Television, et al. v. Create New Technology HK Limited, et al.,
        Federal District Court for the C.D. Cal. Civil Action No. 15-cv-01869 (MMM)(AJW)

To Whom It May Concern:

        We are litigation counsel for China Central Television, China International
Communications Co., Ltd., TVB Holdings (USA), Inc., and DISH Network L.L.C. in a copyright
infringement lawsuit entitled China Central Television, et al. v. Create New Technology (HK)
Limited, et al., 15-cv-01869 (the “TVpad Copyright Infringement Lawsuit”). We are writing to
place you on notice of a Preliminary Injunction Order that was issued by the court in the TVpad
Copyright Infringement Lawsuit, and to demand that pursuant to the terms of the
Preliminary Injunction Order ZERO DDOS immediately cease providing web, server and
file hosting services to the Enjoined Parties.

        The TVpad Copyright Infringement Lawsuit concerns massive infringement by Create
New Technology (HK) Limited (“CNT”), which manufactures the TVpad set-top box, of our
clients’ exclusive rights in the United States to publicly perform and distribute copyrighted
DWT 27208671v4 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 4 of 74 Page ID
                                 #:22985



October 12, 2015
Page 2


television programming that originally airs on CCTV and TVB television channels in China and
Hong Kong. Specifically, applications on the TVpad device (the “Infringing TVpad Apps”)
illegally stream copyrighted CCTV and TVB television programs from China to TVpad users in
the United States.

         The Federal District Court in the TVpad Copyright Infringement Lawsuit has issued a
Preliminary Injunction Order dated June 11, 2015 [Doc. No. 98], which is enclosed with this
letter as Exhibit 1.

        In the Preliminary Injunction Order, the Court specifically orders that CNT, and its
“parents, subsidiaries, affiliates, officers, agents, servants, employees, and those persons or
entities acting in active concert or participation with [CNT] who receive actual notice of this
order (collectively, the ‘Enjoined Parties’) are preliminarily enjoined from,” among other things:

        a.       “Transmitting, retransmitting, streaming, or otherwise publicly performing,
                 directly or indirectly, by means of any device or process, Plaintiffs’ Copyrighted
                 Programming”;

        b.       “Authorizing, hosting, reproducing, downloading or otherwise distributing the
                 Infringing TVpad Apps, including without limitation offering them in the TVpad
                 Store, loading them onto TVpad devices, or providing them to consumers on
                 separate media.”

Preliminary Injunction Order p. 2, ¶ 2(a)-(b).

        The Preliminary Injunction Order also directs that third parties who provide web, server
and file hosting services to any of the Enjoined Parties in connection with infringing activities
must upon receiving notice of the Order immediately cease providing such hosting services:

        “Pending final resolution of the [TVpad Copyright Infringement Lawsuit], third
        parties providing web, server and file hosting services used by any of the Enjoined
        Parties in connection with the activities enjoined in Paragraphs 2(a) and 2(b),
        including, but not limited to, the third parties providing hosting services for the
        Internet servers identified in Exhibit D hereto, and who receive actual notice of this
        order, are preliminarily enjoined from providing such hosting services to any
        Enjoined Party in connection with the activities enjoined in Paragraphs 2(a) and
        2(b).”




DWT 27208671v4 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 5 of 74 Page ID
                                 #:22986



October 12, 2015
Page 3


Preliminary Injunction Order p. 3, ¶ 4. The Preliminary Injunction Order further states that
“[v]iolation of this injunction will expose Defendants and all other persons bound by the
injunction to all penalties, including contempt of Court.” Id. ¶4.

        As listed in Exhibit 2 to this letter, we have ascertained that Enjoined Parties have used
and/or are currently using ZERO DDOS servers in connection with infringing activities.
Accordingly, pursuant to the Preliminary Injunction Order, please promptly cease
providing hosting services to the Enjoined Parties in connection with their infringing
activities. Specifically, the Preliminary Injunction Order requires that you immediately
stop providing hosting services to any and all accounts identified by IP address and date of
detection in Exhibit 2, and that you immediately stop providing hosting services to any
other accounts held by Enjoined Parties that are used for their infringing activities.

       Please provide us with written confirmation that you have ceased providing hosting
services to all Enjoined Parties. Please do not hesitate to contact us to discuss if you have any
questions. Thank you for your cooperation.

                                                      Sincerely,

                                                      Davis Wright Tremaine LLP




                                                      Lance Koonce




DWT 27208671v4 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 6 of 74 Page ID
                                 #:22987




                  Exhibit 1
    Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 7 of 74 Page ID
                                     #:22988
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 1 of 61 Page ID #:2582


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                           UNITED STATES DISTRICT COURT
   5
                          CENTRAL DISTRICT OF CALIFORNIA
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   8    CHINA CENTRAL TELEVISION, a China ) CASE NO.
        company; CHINA INTERNATIONAL             ) CV 15-01869 MMM (AJWx)
   9    COMMUNICATIONS CO., LTD., a China )
        company; TVB HOLDINGS (USA), INC., a )
   10   California corporation; and DISH         )
        NETWORK L.L.C., a Colorado limited       )
   11   liability company,                       ) PRELIMINARY INJUNCTION
                                Plaintiffs,      )
   12           vs.                              )
                                                 )
   13   CREATE NEW TECHNOLOGY (HK)               )
        LIMITED, a Hong Kong company; HUA        )
   14   YANG INTERNATIONAL TECHNOLOGY )
        LTD., a Hong Kong company; SHENZHEN )
   15   GREATVISION NETWORK                      )
        TECHNOLOGY CO. LTD., a China             )
   16   company; CLUB TVPAD, INC., a California )
        corporation; BENNETT WONG, an            )
   17   individual; ASHA MEDIA GROUP INC.        )
        d/b/a TVPAD.COM, a Florida corporation; )
   18   AMIT BHALLA, an individual;              )
        NEWTVPAD LTD CO. a/k/a TVPAD USA, )
   19   a Texas corporation; LIANGZHONG ZHOU, )
        an individual; HONGHUI CHEN d/b/a e-     )
   20   Digital, an individual; JOHN DOE 1 d/b/a )
        BETV; JOHN DOE 2 d/b/a YUE HAI; JOHN )
   21   DOE 3 d/b/a 516; JOHN DOE 4 d/b/a HITV; )
        JOHN DOE 5 d/b/a GANG YUE; JOHN          )
   22   DOE 6 d/b/a SPORT ONLINE; JOHN DOE 7 )
        d/b/a GANG TAI WU XIA; and JOHN DOES)
   23   8-10,                                    )
                                Defendants.
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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 8 of 74 Page ID
                                   #:22989
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 2 of 61 Page ID #:2583


    1         This matter came on before the Court on June 8, 2015 on a motion for a
    2   preliminary injunction filed by Plaintiffs China Central Television, China
    3   International Communications Co., Ltd., TVB Holdings (USA), Inc., and DISH
    4   Network L.L.C. (collectively, “Plaintiffs”).     Pursuant to Local Rule 7-9, any
    5   opposition to Plaintiffs’ motion had to have been filed and served no later than May
    6   18, 2015. No opposition was timely filed, nor has any been filed since May 18. On
    7   June 8, 2015, the court made findings of fact and conclusions of law, concluding that
    8   plaintiffs had demonstrated a likelihood of success on the merits of its claims and a
    9   likelihood that they will suffer irreparable harm if an injunction does not issue. A
   10   copy of the court’s June 11, 2015 order is attached hereto as Exhibit A, and
   11   incorporated herein as though fully set forth.
   12         Based on the findings of fact and conclusions of law, the court orders:
   13         As terms are used herein, the following definitions shall apply:
   14                a. “Plaintiffs’ Copyrighted Programming” means each of those
   15                   broadcast television programming works, or portions thereof,
   16                   whether now in existence or later created, in which the plaintiffs, or
   17                   any of them (or any parent, subsidiary, or affiliate of any of the
   18                   plaintiffs), owns or controls an exclusive right under the United
   19                   States Copyright Act, 17 U.S.C. §§ 101 et seq., including without
   20                   limitation all programs identified in Exhibit B hereto;
   21                b. “TVpad Device” means the television set-top devices marketed as
   22                   TVpad3 and TVpad4, and any other set-top devices that offer the
   23                   Infringing TVpad Apps (as defined in Paragraph 1(e) below) for
   24                   download;
   25                c. “TVpad Store” means any combination of software and/or services
   26                   through which users can select and download software applications
   27                   onto the TVpad Device;
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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 9 of 74 Page ID
                                   #:22990
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 3 of 61 Page ID #:2584


    1                d. “TVpad Apps” means software applications and associated services
    2                   that are designed for use on the TVpad Device and available for
    3                   download through the TVpad Store;
    4                e. “Infringing TVpad Apps” means any TVpad App through which
    5                   Plaintiffs’ Copyrighted Programming is publicly performed without
    6                   authorization by transmission to members of the public, including
    7                   but not limited to the TVpad Apps identified in Exhibit C hereto;
    8                   and
    9         2.     Pending final resolution of the action, defendants Create New
   10   Technology (HK) Limited, Asha Media Group Inc. and ClubTVpad, Inc.
   11   (collectively “defendants”) and all of their parents, subsidiaries, affiliates, officers,
   12   agents, servants, employees, and those persons or entities acting in active concert or
   13   participation with them who receive actual notice of this order (collectively, the
   14   “Enjoined Parties”) are preliminarily enjoined from:
   15                a. Transmitting, retransmitting, streaming, or otherwise publicly
   16                   performing, directly or indirectly, by means of any device or
   17                   process, Plaintiffs’ Copyrighted Programming;
   18                b. Authorizing, hosting, reproducing, downloading or otherwise
   19                   distributing the Infringing TVpad Apps, including, without
   20                   limitation, offering them in the TVpad Store, loading them onto
   21                   TVpad devices, or providing them to consumers on separate media;
   22                c. Advertising, displaying, marketing or otherwise promoting any of
   23                   the Infringing TVpad Apps, including, without limitation, publicly
   24                   displaying any of the Plaintiffs’ Copyrighted Programming in
   25                   connection therewith or in connection with the TVpad Device;
   26                d. Distributing, advertising, marketing or promoting any TVpad device
   27                   that contains, connects to, or offers for download any Infringing
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 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 10 of 74 Page ID
                                   #:22991
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 4 of 61 Page ID #:2585


    1                   TVpad App, or promotes any Infringing TVpad App through the
    2                   inclusion of icons for said Infringing TVpad App;
    3                e. Otherwise infringing Plaintiffs’ rights in their Copyrighted
    4                   Programming, whether directly, contributorily, vicariously or in any
    5                   other manner.
    6         3.     Pending final resolution of the action, the Enjoined Parties shall identify
    7   all domain names and IP addresses and the physical locations of all servers owned,
    8   leased or operated by any of the Enjoined Parties that are used in connection with
    9   the activities enjoined in Paragraphs 2(a) and 2(b) above.
   10         4.     Pending final resolution of the action, third parties providing web,
   11   server and file hosting services used by any of the Enjoined Parties in connection
   12   with the activities enjoined in Paragraphs 2(a) and 2(b), including, but not limited to,
   13   the third parties providing hosting services for the Internet servers identified in
   14   Exhibit D hereto, and who receive actual notice of this order, are preliminarily
   15   enjoined from providing such hosting services to any Enjoined Party in connection
   16   with the activities enjoined in Paragraphs 2(a) and 2(b). Violation of this injunction
   17   will expose defendants and all other persons bound by the injunction to all
   18   applicable penalties, including contempt of court.
   19         5.     Because plaintiffs have shown a likelihood of success on the merits and
   20   the preliminary injunction merely preserves the status quo ante, no security shall be
   21   required.
   22         6.     Within 10 days of the date the court enters this preliminary injunction,
   23   defendants shall file and serve a report in writing and under oath setting forth in
   24   detail the manner and form in which they have complied with the injunction.
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 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 11 of 74 Page ID
                                   #:22992
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 5 of 61 Page ID #:2586


    1         7.     Nothing herein shall restrict plaintiffs’ ability to seek permanent
    2   injunctive relief broader in scope than this preliminary injunction.
    3

    4   Date: June 11, 2015                    ___________________________________
                                                      MARGARET M. MORROW
    5                                             UNITED STATES DISTRICT JUDGE
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    Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 12 of 74 Page ID
                                       #:22993
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 61 of 61
                                                                 30 Page ID #:2587
                                                                            #:2552


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   5                          UNITED STATES DISTRICT COURT
   6                        CENTRAL DISTRICT OF CALIFORNIA
   7

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   9
       CHINA CENTRAL TELEVISION, a China              )   CASE NO. CV 15-01869 MMM (MRWx)
  10   company; CHINA INTERNATIONAL                   )
       COMMUNICATIONS CO., LTD., a China              )
  11   company; TVB HOLDINGS (USA), INC., a           )   FINDINGS OF FACT AND
       California corporation; and DISH NETWORK       )   CONCLUSIONS OF LAW SUPPORTING
  12   L.L.C., a Colorado corporation,                )   ENTRY OF PRELIMINARY
                                                      )   INJUNCTION
  13                                                  )
                                Plaintiffs,
              vs.                                     )
  14                                                  )
       CREATE NEW TECHNOLOGY (HK)                     )
  15   LIMITED, a Hong Kong company; HUA YANG         )
       INTERNATIONAL TECHNOLOGY LIMITED,              )
  16   a Hong Kong company; SHENZHEN                  )
       GREATVISION NETWORK TECHNOLOGY                 )
  17   CO. LTD., a China company; CLUB TVPAD,         )
       INC., a California corporation; BENNETT        )
  18   WONG, an individual, ASHA MEDIA GROUP          )
       INC. d/b/a TVPAD.COM, a Florida corporation;   )
  19   AMIT BHALLA, an individual; NEWTVPAD           )
       LTD. COMPANY d/b/a NEWTVPAD.COM                )
  20   a/k/a TVPAD USA, a Texas corporation;          )
       LIANGZHONG ZHOU, an individual;                )
  21   HONGHUI CHEN d/b/a E-DIGITAL, an               )
       individual; JOHN DOE 1 d/b/a BETV; JOHN        )
  22   DOE 2 d/b/a YUE HAI; JOHN DOE 3 d/b/a 516;     )
       JOHN DOE 4 d/b/a HITV; JOHN DOE 5 d/b/a        )
  23   GANG YUE; JOHN DOE 6 d/b/a SPORT               )
       ONLINE; JOHN DOE 7 d/b/a GANG TAI WU           )
  24   XIA; and JOHN DOES 8-10,                       )
                             Defendants.              )
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 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 13 of 74 Page ID
                                   #:22994
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 7
                                                           2 of 61
                                                                30 Page ID #:2588
                                                                           #:2553


    1          On March 13, 2015, plaintiffs China Central Television (“CCTV”), China International

    2   Communications Co., Ltd. (“CICC”), TVB Holdings (USA), Inc. (“TVB USA”), and DISH

    3   Network L.L.C. (“DISH”) (collectively, “plaintiffs”) filed this copyright infringement action

    4   against Create New Technology HK Limited (“CNT”), Hua Yang International Technology

    5   Limited (“Hua Yang”), Shenzhen GreatVision Network Technology Co., Ltd. (“GreatVision”),

    6   Club TVpad, Inc. (“Club TVpad”), Bennett Wong, Asha Media Group (“AMG”), Amit Bhalla,

    7   newTVpad Ltd. Company (“newTVpad”), Liangzhong Zhou, Honghui Chen, and various

    8   fictitious defendants.1 Three days later, plaintiffs filed a motion for preliminary injunction

    9   against CNT, Club TVpad, and AMG (collectively, “defendants”).2 None of these defendants

   10   has opposed the motion.3

   11

   12                                      I. FINDINGS OF FACT

   13          A.       The Parties

   14          1.       CCTV and Television Broadcasts Limited (“TVB”) are television broadcasters in

   15   mainland China and Hong Kong, respectively. Through affiliates, CCTV and TVB license

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   20              Complaint, Docket No. 1 (Mar. 13, 2015).
               2
   21           Notice of Motion and Motion for Preliminary Injunction (“Motion”), Docket No. 23
        (Mar. 16, 2015).
   22          3
                 CNT was served with the summons and complaint on March 18, 2015. AMG was
   23   served on March 19, and Club TVpad was served on March 20. (See Proof of Service on
        Create New Technology, Docket No. 38 (March 24, 2015); Proof of Service on Asha Media
   24   Group, Docket No. 42 (Mar. 27, 2015); Proof of Service on Club TVpad, Docket No. 44 (Mar.
        27, 2015).) Plaintiffs served a copy of their motion for preliminary injunction on CNT, Club
   25   TVpad, and AMG on March 18, 2015. (See Proof of Service Re: Motion for Preliminary
        Injunction, Docket No. 33 (Mar. 18, 2015).) CNT has not appeared and has had its default
   26   entered. (See Minutes (In Chambers) Order Granting Plaintiffs’ Requests for Entry of the
        Default, Docket No. 87 (May 28, 2015); Default by Clerk Entered As To Hua Yang and Create
   27   New Technology, Docket No. 88 (May 28, 2015).) AMG and Club TVpad have each answered
        the complaint. (See Answer to Complaint by Asha Media Group, Docket No. 58 (Apr. 23,
   28   2015); Answer to Complaint by Club TVpad, Inc., Docket No. 72 (May 11, 2015).)



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 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 14 of 74 Page ID
                                   #:22995
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 8
                                                           3 of 61
                                                                30 Page ID #:2589
                                                                           #:2554


    1   copyrighted television programming for retransmission in the U.S. via authorized satellite,

    2   cable, and other television service providers (“Authorized U.S. Providers”).4

    3          2.        CICC is a CCTV affiliate that licenses Authorized U.S. Providers to broadcast

    4   CCTV’s “Great Wall” package of channels to paying U.S. subscribers.             Although CICC

    5   licenses certain satellite and cable retransmission rights, CCTV retains and owns the exclusive

    6   right to transmit CCTV programming in the United States over the internet.5

    7          3.        TVB USA is a wholly owned indirect subsidiary of TVB and distributes and

    8   licenses TVB programming in the United States. TVB owns and maintains the exclusive right

    9   to transmit TVB programming in the United States via Internet Protocol Television (“IPTV”)

   10   and Over-the-Top (“OTT”) in video-on-demand format.6

   11          4.        “IPTV” is the electronic delivery of video programming via internet protocol

   12   over a service provider’s infrastructure – such as AT&T’s “U-verse.” “OTT” is the delivery of

   13   video programming using an internet connection that is not owned, managed, or operated by

   14   the party delivering the programming – i.e., Netflix.7

   15          5.        DISH is a television service provider that delivers television services to

   16   subscribers through satellite and internet platforms. DISH is a licensee of both CCTV and

   17   TVB; pursuant to the licensing agreements, DISH owns the exclusive right to transmit certain

   18   CCTV and TVB programming in the United States via satellite, and certain TVB programming

   19   via OTT, except in video-on-demand format.8

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   22          4
                 Compendium of Evidence In Support of Motion for Preliminary Injunction – Volume I
   23   (“Comp. Vol. I”), Docket No. 23-1 (Mar. 16, 2015), Declaration of Samuel P. Tsang (“Tsang
        Decl.”), ¶¶ 3-4, 11; Comp. Vol. I, Declaration of Chunguang Lu (“Lu Decl.”), ¶¶ 3-5, 9.
   24          5
                   Lu Decl., ¶¶ 5, 10-11.
   25          6
                   Tsang Decl., ¶¶ 3-4, 9, 11.
   26          7
                   Id., ¶ 9.
   27          8
                 Comp. Vol. I, Declaration of Christopher Kuelling (“Kuelling Decl.”), ¶¶ 5-6, 9; Lu
   28   Decl., ¶¶ 12-13; Tsang Decl., ¶ 12.



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 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 15 of 74 Page ID
                                   #:22996
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 9
                                                           4 of 61
                                                                30 Page ID #:2590
                                                                           #:2555


    1            6.        CNT is a Hong Kong company that manufactures the “TVpad” device – a set-top

    2   box that delivers streaming television programming from Asia to customers in the United States

    3   over the internet without requiring customers to pay subscription fees to an authorized

    4   provider.9

    5            7.        CNT offers TVpads for sale to consumers throughout the United States –

    6   including within the Central District – through its website, www.itvpad.com, and through U.S.

    7   distributors. CNT’s latest model of the TVpad, the TVpad4, is sold at retail for $299.00.10

    8            8.        Club TVpad is a California corporation based in Hayward, California. Club

    9   TVpad operates an interactive website on which it offers TVpads for sale to California

   10   consumers. Corporate records identify Wong as Club TVpad’s officer and agent for service of

   11   process.11

   12            9.        AMG is a California corporation that operates an interactive website on which it

   13   offers TVpads for sale to California consumers. Corporate records identify Amit Bhalla as

   14   president of AMG.12

   15            B.        Uncontested Facts Regarding Defendants’ Infringement

   16                      1.     CNT and the TVpad Infringing Apps

   17            10.       Before a TVpad user can access television programming, he or she must

   18   download applications from the “TVpad Store” – the store is a primary feature of every TVpad

   19   device. Thus, before TVpad users in the United States can access unauthorized CCTV and

   20   TVB programming, they must download free apps from the TVpad Store for their devices.13

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   23                Comp. Vol. I, Declaration of Christopher Weil (“Weil Decl.”), ¶¶ 9, 16.
                 10
   24                 Id., ¶¶ 10-13, 64-71; see also id., Exh. 4.
                 11
   25             Comp. Vol. I, Declaration of Shuk Kuen “Lily” Lau (“Lau Decl.”), ¶¶ 4-5, 9. See also
        id., Exhs. 57-78, 62.
   26            12
                      Id., ¶¶ 21-24. See also id., Exh. 74.
   27            13
                      Weil Decl., ¶ 26; Comp. Vol. I, Declaration of Nicholas Braak (“Braak Decl.”), ¶¶ 8,
   28   14-16.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 16 of 74 Page ID
                                    #:22997
Case
Case2:15-cv-01869-MMM-AJW
     2:15-cv-01869-MMM-AJW Document
                           Document98
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                                       Filed06/11/15
                                             06/11/15 Page
                                                      Page10
                                                           5 of
                                                              of30
                                                                 61 Page
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                                                                            #:2591


    1          11.       Plaintiffs’ investigators have identified 15 TVpad apps available in the TVpad

    2   Store that permit TVpad users in the United States to access unauthorized CCTV and TVB

    3   programming (“Infringing TVpad Apps”). The Infringing TVpad Apps are identified in the

    4   chart attached hereto as Exhibit A. These Infringing TVpad Apps provide CCTV and TVB

    5   programming in four modes: “live” streaming, “time-shifted” streaming, and two forms of

    6   video-on-demand streaming.14

    7          12.       In late 2014, plaintiffs’ investigator observed and recorded 30 CCTV television

    8   episodes and 23 TVB television episodes streamed through Infringing TVpad Apps on the

    9   TVpad device. A TVB USA executive observed and recorded portions of an additional 406

   10   TVB episodes streamed through Infringing TVpad Apps in video-on-demand mode. Each

   11   episode recorded by plaintiffs’ investigator and the TVB USA executive (“Registered

   12   Programs”) are registered with the United States Copyright Office. Plaintiffs have not granted

   13   anyone a license to stream the Registered Programs over the internet into the United States

   14   through the Infringing TVpad Apps.15

   15          13.       Before accessing the TVpad Store, users must accept CNT’s mandatory terms of

   16   service. These terms state, inter alia, that CNT reserves the right to “filter, modify, refuse or

   17   delete any or all software applications in the TVpad Store,” and to “suspend, remove, or disable

   18   access to any Products, content, or other materials accessible through the TVpad Store.”16

   19          14.       CNT solicits new applications for the TVpad Store, announces the release of new

   20   applications, and sells different “editions” of its TVpad4 device with unique application

   21   collections. CNT has stated that it “has strictly controlled and managed the way to upload apps

   22   on TVpad Store[.]”17

   23
               14
   24               Braak Decl., ¶¶ 16-17, 52; Tsang Decl., ¶ 22.
               15
   25            Braak Decl., ¶¶ 74-76; Tsang Decl., ¶¶ 23, 25-27; id., Exh. 92; Lu Decl., ¶¶ 23-25; id.,
        Exh. 94; Kuelling Decl., ¶ 14.
   26          16
                    Braak Decl., ¶¶ 29-30; id., Exh. 47 at ¶¶ 3.8 and 3.10.
   27          17
                Weil Decl., ¶¶ 18, 25, 36; id., Exhs. 7, 9-12, 18; Comp. Vol. I, Declaration of George
   28   P. Wukoson (“Wukoson Decl.”), ¶ 2; id., Exh. 104 at 4.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 17 of 74 Page ID
                                    #:22998
Case
Case2:15-cv-01869-MMM-AJW
     2:15-cv-01869-MMM-AJW Document
                           Document98
                                    97 Filed
                                       Filed06/11/15
                                             06/11/15 Page
                                                      Page11
                                                           6 of
                                                              of30
                                                                 61 Page
                                                                    PageID
                                                                         ID#:2557
                                                                            #:2592


    1          15.       Plaintiffs’ investigator performed forensic analysis of the TVpad device and

    2   determined that Infringing TVpad Apps in “live” mode stream CCTV and TVB programming

    3   through a peer-to-peer network, in which each TVpad user streams video content to large

    4   numbers of other users worldwide. Stated differently, each TVpad user not only receives live

    5   CCTV and TVB broadcasts, but also simultaneously retransmits those broadcasts to other

    6   TVpad users throughout the United States and around the world. CNT is aware of the peer-to-

    7   peer streaming feature of the TVpad and has publicly praised the feature.18

    8          16.       According to plaintiffs’ investigator, peer-to-peer streaming can only function if

    9   an individual initially captures CCTV and TVB broadcast signals in Asia. After the signal is

   10   captured, the individual converts the signal into digital data and then streams the data to TVpad

   11   users through the peer-to-peer network.19

   12          17.       Plaintiffs’ investigator has also determined that Infringing TVpad Apps in

   13   “video-on-demand” mode stream CCTV and TVB programs to TVpad users directly from

   14   servers in the United States, including servers in Los Angeles.20

   15          18.       Data packets received from these servers indicate that recorded video files reside

   16   on the servers. Thus, individuals or entities that pirate CCTV and TVB programs from Asia

   17   make copies of the programs and stream those copies from servers located in the United

   18   States.21

   19          19.       Forensic analysis has demonstrated that Infringing TVpad Apps in time-shift

   20   mode stream CCTV and TVB programming both through the peer-to-peer network and directly

   21   from servers in China.22

   22
               18
   23               Braak Decl., ¶¶ 10(a), 53-56; id, Exh. 45; Weil Decl., ¶ 19; id., Exh. 9 at 1.
               19
   24            Braak Decl., ¶¶ 17, 56. Plaintiffs refer to individuals responsible for capturing
        broadcast signals and converting them into data streamed through peer-to-peer networks as
   25   “App Infringers.”
               20
   26               Id., ¶¶ 10(b), (d), 60-62; id., Exh. 45
               21
   27               Id., ¶ 62; id., Exh. 45.
               22
   28               Braak Decl., ¶¶ 10(c), 63.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 18 of 74 Page ID
                                    #:22999
Case
Case2:15-cv-01869-MMM-AJW
     2:15-cv-01869-MMM-AJW Document
                           Document98
                                    97 Filed
                                       Filed06/11/15
                                             06/11/15 Page
                                                      Page12
                                                           7 of
                                                              of30
                                                                 61 Page
                                                                    PageID
                                                                         ID#:2558
                                                                            #:2593


    1          20.       CNT promotes its television service, the Infringing TVpad Apps, and the

    2   availability of CCTV and TVB programming on the TVpad devices. In some cases, it has

    3   falsely represented that the content it delivers has been authorized by CCTV and TVB. CNT

    4   solicits new distributors by stating that it provides “[e]xclusive & authorized live content from

    5   mainland China/HK/Taiwan”; this statements is displayed next CCTV and TVB logos. CNT

    6   has also advertised on its website that the TVpad delivers “massive content from China,

    7   Taiwan, and HK.”23

    8          21.       CNT places banner advertisements for Infringing TVpad Apps that stream CCTV

    9   and TVB programs on the user interface of the TVpad device. It also utilizes categories such as

   10   “Live TV,” “VOD,” and “TV Dramas” in the TVpad Store to make it easy for users to locate

   11   and download Infringing TVpad Apps.24

   12          22.       CNT’s blog actively promotes Infringing TVpad Apps. For example, on January

   13   8, 2014, CNT stated that the Gang Yue Wang Luo Dian Shi app provides live channels in high

   14   definition, and noted that it is “definitely the favorite of those who love to watch TVB.” CNT’s

   15   blog post included a screenshot of a TVB program.25

   16          23.       CNT’s Facebook page regularly promotes the availability of CCTV and TVB

   17   television programs through the Infringing TVpad Apps. One post by the TVpad administrator

   18   on CNT’s Facebook page encourages users to watch a CCTV documentary and places the CNT

   19   logo directly next to programming information for CCTV channels.26

   20          24.       CNT’s Facebook page includes a promotional video that features icons of

   21   Infringing TVpad Apps and a CCTV broadcast.27

   22

   23
               23
   24               Weil Decl., ¶¶ 28-50; id., Exhs. 8, 13-29, 33.
               24
   25               Braak Decl., ¶¶ 31-36, 38-41, 46-50; id., Exhs. 46, 48.
               25
   26               Weil Decl., ¶ 36; id., Exh. 18.
               26
   27               Id., ¶¶ 39-42; id., Exh. 20 at 3-6; id., Exh. 21.
               27
   28               Id., ¶¶ 42, 50; id., Exh. 21; id., Exh. 29 at 1-53, 61-71.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 19 of 74 Page ID
                                    #:23000
Case
Case2:15-cv-01869-MMM-AJW
     2:15-cv-01869-MMM-AJW Document
                           Document98
                                    97 Filed
                                       Filed06/11/15
                                             06/11/15 Page
                                                      Page13
                                                           8 of
                                                              of30
                                                                 61 Page
                                                                    PageID
                                                                         ID#:2559
                                                                            #:2594


    1          25.       CNT also actively collaborates with purported third-party App Infringers to

    2   develop and improve infringing content by providing customer support and technical assistance

    3   to help TVpad users access and share infringing streams of CCTV and TVB programming, and

    4   by conveying messages between TVpad users and App Infringers. For example, a CNT blog

    5   post instructs users how to install the infringing BETV app from the TVpad Store, providing

    6   step-by-step screenshots.28

    7          26.       Administrators on CNT’s Facebook page instruct users how to download and use

    8   Infringing TVpad Apps to access CCTV and TVB programming.                         On June 12, 2014, in

    9   response to the question – “Anyone knows which app or channel on tvpad is showing the

   10   World Cup???” – a CNT administrator advised the user to try BETV and Sport Online, two

   11   Infringing TVpad Apps that stream CCTV channels.29

   12          27.       When a user asked on CNT’s Facebook page, “[w]hich tvpad is can see [sic] tvb

   13   day and night and 12 hour back and tvb drama,” an administrator wrote “Could download three

   14   party applications from TVpad store for this case[.]”30

   15          28.       Administrators provide similar assistance to help TVpad users locate CCTV and

   16   TVB programming on CNT’s official fan forum at tvpadfans.com.31

   17          29.       Administrators on CNT’s Facebook page and fan forum also provide technical

   18   assistance and updates to customers regarding server problems impacting their ability to stream

   19   infringing television content.32

   20          30.       As recently as January 9, 2015, CNT responded to user complaints about

   21   problems downloading the new Gang Yue Wang Luo Dian Shi app – an Infringing TVpad App,

   22

   23
               28
   24               Id., ¶¶ 37, 54-56; id., Exhs. 19, 30-32
               29
   25               Id., ¶¶ 43-45; id., Exhs. 22-24.
               30
   26               Id., ¶ 45; id., Exh. 24.
               31
   27               Id., ¶ 50; id., Exh. 29 at 81-87.
               32
   28               Id., ¶¶ 37, 39; id., Exhs. 34, 36; Braak Decl., ¶ 59; id., Exh. 51.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 20 of 74 Page ID
                                    #:23001
Case
Case2:15-cv-01869-MMM-AJW
     2:15-cv-01869-MMM-AJW Document
                           Document98
                                    97 Filed
                                       Filed06/11/15
                                             06/11/15 Page
                                                      Page14
                                                           9 of
                                                              of30
                                                                 61 Page
                                                                    PageID
                                                                         ID#:2560
                                                                            #:2595


    1   They apologized for any inconvenience, and asked customers to send a private message to CNT

    2   so that CNT and the “app provider” could address the problem.33

    3          31.        CNT’s statements demonstrate that it collaborates with third party app

    4   developers to develop and improve infringing content. By way of example, on August 18,

    5   2013, CNT published a post on its Facebook page soliciting suggestions as to how it could

    6   help CNT “better serve [its] overseas customers and allow overseas TVpad users to enjoy better

    7   Chinese TV services.” In response, one user suggested adding a TVB football channel; the

    8   administrator said he would “communicate with third-party application developers” regarding

    9   the suggestion.34

   10          32.        In response to another user’s suggestion that CNT “improve all streaming sound

   11   bit rates and enable stereo,” the administrator reported that “the application providers are

   12   working on this issue.”35

   13          33.        In addition to responding to user suggestions and questions, CNT also

   14   communicates information regarding the Infringing TVpad Apps to users. In October 2013, for

   15   example, a CNT administrator posted a notification on CNT’s official Facebook page advising

   16   TVpad users that maintenance required on the infringing 516 app might cause service

   17   disruptions.36

   18          34.        Despite its internet-based streaming business model, CNT has not (a) posted a

   19   policy instructing users how to report infringing activity, (b) appointed an agent to receive

   20   notifications of claimed infringement under the Digital Millennium Copyright Act, 17 U.S.C. §

   21   512 (c)(2), or (c) adopted any notice-and-takedown procedures in the TVpad Store.37

   22

   23
               33
   24               Weil Decl., ¶ 60; id., Exh. 37.
               34
   25               Id.
               35
   26               Id., ¶¶ 54-55; id., Exhs. 30-31.
               36
   27               Id., ¶ 56; id., Exh. 32.
               37
   28               Braak Decl., ¶ 51.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 21 of 74 Page ID
                                    #:23002
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 15
                                                           10 of 61
                                                                 30 Page ID #:2596
                                                                            #:2561


    1          35.       CNT employs a business model that requires TVpad users to pay an up-front,

    2   one-time fee for unlimited access to unauthorized, infringing programming. Consumers who

    3   wish to access the content must pay regular subscription fees to receive programming from an

    4   Authorized U.S. Provider.38

    5                    2.      Club TVpad

    6          36.       Club TVpad operates an interactive website on which it sells TVpads. On its

    7   website and Facebook page, Club TVpad also markets the Infringing TVpad Apps, the

    8   infringing capabilities of the TVpad, and the availability of CCTV and TVB programming.39

    9          37.       For example, in November 2012, Club TVpad posted the following on its

   10   Facebook page: “Are you a Direct TV subscriber? Then you might be aware that they are

   11   removing TVB from their line up at the end of the month. . . . This is the best time to get a

   12   TVpad to replace Direct TV.”40

   13          38.       Club TVpad also operates an online forum through which it regularly promotes

   14   Infringing TVpad Apps; it also assists customers who wish to download Infringing TVpad

   15   Apps and access unauthorized CCTV and TVB content and programming.41

   16          39.       On October 26, 2014, plaintiffs’ investigator contacted Club TVpad and spoke

   17   with Bennett Wong about purchasing a TVpad device. Wong told the investigator that TVB’s

   18   TVBS and Jade channels were available through the TVpad device and that the one-time

   19   purchase price of the TVpad was the only cost to access television programming.42

   20
   21

   22

   23          38
                 Weil Decl., ¶¶ 4, 28, 35, 38, 62; id., Exhs. 6, 13, 17, 38; Lau Decl., ¶¶ 26, 30, 34; id.,
   24   Exh. 80; Tsang Decl., ¶ 14; Lu Decl., ¶ 15; Kuelling Decl., ¶¶ 7-8, 11.
               39
   25               Lau Decl., ¶¶ 10-11; id., Exhs. 63-67.
               40
   26               Id., ¶ 10(d); id., Exh. 66.
               41
   27               Id., ¶¶ 12-15; id., Exhs. 68-71.
               42
   28               Id., ¶ 17.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 22 of 74 Page ID
                                    #:23003
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 16
                                                           11 of 61
                                                                 30 Page ID #:2597
                                                                            #:2562


    1             40.       Plaintiffs’ investigator purchased a TVpad device from Club TVpad’s website.

    2   After receiving the TVpad device, the investigator determined that Club TVpad had pre-

    3   installed several Infringing TVpad Apps that stream CCTV and TVB programming.43

    4                       3.      AMG

    5             41.       AMG, like Club TVpad, operates an interactive website that offers TVpads for

    6   sale to consumers in California.               Promotional blog posts on the website advertise the

    7   availability of free CCTV and TVB programming through the Infringing TVpad Apps. For

    8   example, a December 2014 blog post promoting the new TVpad4 model stated: “Not wanting

    9   to pay for streaming television?               TVpad4 still streams live news, sports, and television

   10   programming from stations like SoLive, CCTV, and many, many more.”44

   11             42.       Similarly, a June 2014 blog post stated: “There are over 100 different Asian

   12   channels and apps to choose from, but lovers of television shows will certainly want to install

   13   the HITV app [an Infringing TVpad App that streams TVB programs]. Viewers can watch

   14   hundreds of live shows from Hong Kong, including all of their favorite dramas.”45

   15             43.       On May 30, 2014, plaintiffs’ investigator called AMG and spoke to an individual

   16   identifying himself as Amit. Amit confirmed that CCTV channels were available on the TVpad

   17   device.        In response to a question about CCTV channels, AMG sent the investigator a

   18   spreadsheet listing CCTV and TVB channels and the Infringing TVpad Apps that could access

   19   those channels.46

   20             44.       Plaintiffs’ investigator purchased two TVpad devices from AMG’s website.

   21   Both devices came with USB flash drives that contained several Infringing TVpad Apps.47

   22

   23
                  43
   24                  Id., ¶ 18; Braak Decl., ¶¶ 65-67.
                  44
   25                  Lau Decl., ¶ 28; id., Exhs. 82-87.
                  45
   26                  Id., ¶ 28(d); id., Exh. 86.
                  46
   27                  Id., ¶¶ 30, 32; id., Exh. 89.
                  47
   28                  Id., ¶¶ 31, 35; Braak Decl., ¶¶ 68-73.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 23 of 74 Page ID
                                    #:23004
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 17
                                                           12 of 61
                                                                 30 Page ID #:2598
                                                                            #:2563


    1          45.      Prior to filing suit, DISH sent cease-and-desist letters to CNT, Club TVpad, and

    2   AMG, demanding that each stop infringing and/or inducing infringement of plaintiffs’

    3   copyrights. The letters identified the Infringing TVpad Apps on the TVpad3 and listed specific

    4   CCTV and TVB channels and programs streamed without authorization on the Infringing

    5   TVpad Apps.48

    6          46.      Despite notice, CNT, Club TVpad, and AMG have continued to market,

    7   advertise, and promote the Infringing TVpad Apps and the availability of unauthorized CCTV

    8   and TVB television programming via the TVpad device.49

    9          47.      Defendants’ conduct has materially reduced the number of individuals who

   10   subscribe to authorized platforms for CCTV and TVB programming in the United States. It has

   11   also reduced the number of individuals willing to pay for access to such programming. This

   12   has led to reductions in plaintiffs’ revenues that are difficult to quantify.50

   13          48.      Defendants’ ongoing infringement impairs the ability of CCTV, CICC and TVB

   14   (USA) to negotiate favorable license agreements with Authorized U.S. Providers and others.51

   15          49.      Defendants’ ongoing infringement has also damaged plaintiffs’ goodwill.

   16   Plaintiffs’ investigators have observed numerous problems with the TVpad viewing experience,

   17   e.g., video failing to stream or terminating prematurely, low video quality, pixilation, and sound

   18   issues.52

   19          50.      Defendants’ infringing conduct adversely affects plaintiffs’ strategic choices

   20   about where, when, and how to distribute their programs, harming their goodwill with U.S.

   21

   22          48
                    Kuelling Decl., ¶¶ 15-25; id., Exhs. 95-103.
   23          49
                 Id., ¶¶ 22, 25; Declaration of Carla A. McCauley in Support of Plaintiffs’ Motion for
   24   Preliminary Injunction (“McCauley Decl.”), Docket No. 85 (May 22, 2015), ¶¶ 4-7; id., Exhs.
        B-E.
   25          50
                    Tsang Decl., ¶¶ 29-32; Lu Decl., ¶¶ 27-28; Kuelling Decl., ¶¶ 26-32.
   26          51
                    Tsang Decl., ¶ 39; Lu Decl., ¶ 29.
   27          52
                 Tsang Decl., ¶ 40; Lu Decl., ¶ 30; Kuelling Decl., ¶ 33; Braak Decl., ¶ 59; id., Exh.
   28   51; Weil Decl., ¶¶ 57-60; id., Exhs. 33-37.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 24 of 74 Page ID
                                    #:23005
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 18
                                                           13 of 61
                                                                 30 Page ID #:2599
                                                                            #:2564


    1   audiences and Authorized U.S. Providers. Defendants’ retransmission service not only streams

    2   CCTV and TVB programming in the United States without a license, but does so several hours

    3   before the programming is available through authorized channels.53

    4             51.       Defendants’ unlawful activities deprive plaintiffs of their right not to disseminate

    5   many of their programs in the United States.54

    6             52.       Defendants’ unlawful activities also pose a risk of confusion – defendants’

    7   unauthorized streaming of plaintiffs’ programming has confused consumers about video on

    8   demand products and created an mistaken perception about what constitutes lawful video on

    9   demand programming.55

   10

   11                                        II. CONCLUSIONS OF LAW

   12             1.        The court has authority to “grant temporary and final injunctions on such terms

   13   as it may deem reasonable to prevent or restrain infringement of a copyright.” 17 U.S.C. §

   14   502(a).

   15             2.        To determine whether to issue a preliminary injunction, the court must balance

   16   four factors: (1) whether plaintiff is likely to succeed on the merits; (2) whether plaintiff will

   17   suffer irreparable harm in the absence of preliminary relief; (3) whether the equities favor

   18   plaintiff; and (4) whether issuance of a preliminary injunction is in the public interest. Sierra

   19   Forest Legacy v. Rey, 577 F.3d 1015, 1021 (9th Cir. 2009); see also Winter v. Natural Defense

   20   Counsel, Inc., 555 U.S. 7, 20 (2008); Fox Television Stations, Inc. v. BarryDriller Content Sys.,

   21   PLC, 915 F.Supp.2d 1138, 1141 (C.D. Cal. 2012) ( stating that to “obtain preliminary

   22   injunctive relief, a plaintiff must establish: “(1) that it is likely to succeed on the merits, (2) that

   23   it is likely to suffer irreparable harm in the absence of preliminary relief, (3) that the balance of

   24   equities tips in its favor, and (4) that an injunction is in the public interest” (citation omitted)).

   25
                  53
   26                  Tsang Decl., ¶¶ 33-35, 37; Lu Decl., ¶¶ 31-33.
                  54
   27                  Tsang Decl., ¶ 36; Lu Decl., ¶ 34.
                  55
   28                  Tsang Decl., ¶ 38; Lu Decl., ¶ 35; Kuelling Decl., ¶ 28.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 25 of 74 Page ID
                                    #:23006
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 19
                                                           14 of 61
                                                                 30 Page ID #:2600
                                                                            #:2565


    1          3.     The Ninth Circuit employs a “sliding scale” under which “the elements of the

    2   preliminary injunction test are balanced, so that a stronger showing of one element may offset a

    3   weaker showing of another. For example, a stronger showing of irreparable harm to plaintiff

    4   might offset a lesser showing of likelihood of success on the merits.” Alliance for the Wild

    5   Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011) (holding that the sliding scale

    6   approach survives Winter so long as there is a showing of likely irreparable harm).

    7          A.     Likelihood of Success on the Merits

    8                 1.      Secondary Liability for Copyright Infringement

    9                         a.     Direct Liability

   10          4.     For all theories of secondary liability, a plaintiff “must establish that there has

   11   been a direct infringement by third parties.” Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d

   12   1146, 1169 (9th Cir. 2007). This requires a showing of: “(1) ownership of the infringed

   13   material, and (2) violation of at least one exclusive right granted to copyright holders under 17

   14   U.S.C. § 106 by the infringer.” A&M Records, Inc. v. Napster, 239 F.3d 1004, 1013 (9th Cir.

   15   2001) (citing 17 U.S.C. § 501(a); Baxter v. MCA, Inc., 812 F.2d 421, 423 (9th Cir. 1987);

   16   S.O.S., Inc. v. Payday, Inc., 886 F.2d 1081, 1085 n. 3 (9th Cir. 1989)).

   17          5.     Plaintiffs are likely to succeed in showing its “ownership of the infringed

   18   material,” A&M Records, Inc., 239 F.3d at 1013, because it holds copyright registrations for the

   19   Registered Programs; this gives rise to a presumption of ownership and validity. 17 U.S.C. §

   20   410(c) (noting that a certificate of registration is “prima facie evidence of the validity of the

   21   copyright and the facts stated in the certificate”). Defendants, who did not oppose the motion,

   22   have made no attempt to rebut the presumption that flows from a valid copyright registration.

   23   Plaintiffs are also likely to succeed in showing that they own the exclusive rights to transmit the

   24   Registered Programs and other CCTV and TVB programming in the U.S. over the internet in

   25   various formats, and therefore have standing to sue for infringement of those rights. 17 U.S.C.

   26   § 501(b).

   27          6.     Next, plaintiffs are likely to succeed in showing that the unauthorized streaming

   28   of their programs over the internet, as evidenced by the observations and recordings of



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 26 of 74 Page ID
                                    #:23007
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 20
                                                           15 of 61
                                                                 30 Page ID #:2601
                                                                            #:2566


    1   plaintiffs’ investigator and a TVB USA executive, infringes an “exclusive right granted to

    2   copyright holders under 17 U.S.C. § 106.” A&M Records, Inc., 239 F.3d at 1013.

    3          7.     The Copyright Act grants plaintiffs the exclusive right to “perform the

    4   copyrighted work publicly.” 17 U.S.C. § 106(4). A party publicly performs a copyrighted

    5   work when it “transmit[s] or otherwise communicate[s] a performance or display of the work . .

    6   . to the public, by means of any device or process, whether the members of the public capable

    7   of receiving the performance or display receive it in the same place or in separate places and at

    8   the same time or at different times.” 17 U.S.C. § 101.

    9          8.     In ABC, Inc. v. Aereo, Inc., 134 S. Ct. 2498 (2014), the Supreme Court held that

   10   Aereo publicly performed plaintiffs’ television programs by streaming those programs over the

   11   internet to “large numbers of paying subscribers who lack[ed] any prior relationship to the

   12   works.” Id. at 2510. The Court reasoned that Aereo performed the works “publicly” because it

   13   streamed programs to “a large number of people who [were] unrelated and unknown to each

   14   other,” and who did not “receive [the] performances in their capacities as owners or possessors

   15   of the underlying works.”     Id. at 2509-10; see also Warner Bros. Entertainment v. WTV

   16   Systems, Inc., 824 F.Supp.2d 1003, 1009-11 (C.D. Cal. 2011) (entering a preliminary injunction

   17   against a service that streamed motion pictures without authorization over the internet to

   18   customers); DISH Network L.L.C. v. TV Net Solutions, LLC, 12-cv-1629, 2014 U.S. Dist.

   19   LEXIS 165120, *13-14 (M.D. Fla. Nov. 25, 2014) (holding that the retransmission of Arabic

   20   television channels over the internet and into the United States infringed DISH’s public-

   21   performance rights).

   22          9.     The App Infringers stream live and time-shifted CCTV and TVB channels

   23   through a peer-to-peer network and/or through servers in the United States to large numbers of

   24   TVpad users who have no right to access the content. Thus, plaintiffs are likely to succeed in

   25   showing that the App Infringers publicly perform plaintiffs’ television programming in the

   26   United States without authorization under Aereo.

   27          10.    Because TVpad users operate as peers in a peer-to-peer network through which

   28   each user retransmits live and time-shifted CCTV and TVB programs to large numbers of other



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 27 of 74 Page ID
                                    #:23008
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 21
                                                           16 of 61
                                                                 30 Page ID #:2602
                                                                            #:2567


    1   TVpad users, plaintiffs are likely to succeed in showing that the TVpad users publicly perform

    2   plaintiffs’ television programming in the United States without authorization. “[T]he concep[t]

    3   of public performance . . . cover[s] not only the initial rendition or showing, but also any further

    4   act by which that rendition or showing is transmitted or communicated to the public.” Aereo,

    5   134 S.Ct. at 2506 (quoting H.R. Rep. No. 94-1976, at 63 (1976)). TVpad user retransmissions

    6   are “to the public” because TVpad users who receive them are “a large number of people who

    7   are unrelated and unknown to each other,” and TVpad users are not “owners or possessors of

    8   the underlying works.” Id. at 2510.

    9          11.    Plaintiffs are thus likely to prevail in showing direct copyright infringement by

   10   third party users – a necessary predicate to their claims for contributory copyright infringement.

   11                 2.      Contributory Copyright Infringement

   12          12.    To prove contributory copyright infringement, plaintiffs must show that

   13   defendants: (1) had knowledge of the infringing activity; and (2) induced, caused, or materially

   14   contributed to direct infringement by others. Perfect10, Inc., 508 F.3d at 1170 (“In order for

   15   Perfect 10 to show it will likely succeed in its contributory liability claim against Google, it

   16   must establish that Google’s activities meet the definition of contributory liability enunciated in

   17   Grokster. Within the general rule that ‘[o]ne infringes contributorily by intentionally inducing

   18   or encouraging direct infringement,” the Court has defined two categories of contributory

   19   liability[, including]: ‘Liability under our jurisprudence may be predicated on actively

   20   encouraging (or inducing) infringement through specific acts (as the Court’s opinion develops).

   21   . . ,” citing Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930 (2005));

   22   Louis Vuitton Malletier, S.A. v. Akanoc Solutions, Inc., 591 F.Supp.2d 1098, 1106 (N.D. Cal.

   23   2008) (“Contributory copyright infringement requires (1) knowledge of another’s infringement

   24   and (2) either (a) material contribution to the infringement or (b) inducement of the

   25   infringement” (citation omitted)).

   26          13.    Defendants had actual knowledge of the infringing activity because plaintiffs

   27   sent them cease and desist letters. A&M Records, Inc., 239 F.3d at 1022 n.6 (defendant had

   28   actual notice of the infringement because the RIAA informed it of the infringing files); see also



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 28 of 74 Page ID
                                    #:23009
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 22
                                                           17 of 61
                                                                 30 Page ID #:2603
                                                                            #:2568


    1   Louis Vuitton, 591 F.Supp.2d at 1106 (“Actual knowledge exists where it can be shown by a

    2   defendant’s conduct or statements that it actually knew of specific instances of direct

    3   infringement. . . . ‘[I]f a computer system operator learns of specific infringing material

    4   available on his system and fails to purge such material from the system, the operator knows of

    5   and contributes to direct infringement,” citing A&M Records, Inc., 239 F.3d at 1021 (in turn

    6   citing Religious Technology Center v. Netcom On-Line Comm. Serv. Inc., 907 F.Supp. 1361,

    7   1374 (N.D. Cal. 1995)).

    8          14.    The second element can be satisfied by showing either “inducement” and

    9   “material contribution.” Perfect 10 v. Visa Int’l Serv. Ass’n, 494 F.3d 788, 795 (9th Cir. 2007).

   10   Inducement is shown when a defendant has undertaken purposeful acts aimed at assisting and

   11   encouraging others to infringe. Grokster, Ltd., 545 U.S. at 936-37. Thus, “one who distributes

   12   a device with the object of promoting its use to infringe copyright, as shown by clear

   13   expression or other affirmative steps taken to foster infringement, is liable for the resulting acts

   14   of infringement by third parties.” Id.

   15          15.    “[A] defendant may be liable for ‘activity undertaken abroad that knowingly

   16   induces infringement within the United States.’” Columbia Pictures Indus., Inc. v. Fung, No.

   17   CV 06-5578 SVW (JCx), 2009 WL 6355911, *8 (C.D. Cal. Dec. 21, 2009), aff’d, 710 F.3d

   18   1020 (9th Cir. 2013).

   19          16.    In the Ninth Circuit, proof of inducement has four elements: (1) distribution of a

   20   device, product, or service; (2) acts of infringement; (3) an object of promoting use of the

   21   device, product, or service to infringe a copyright; and (4) causation. Columbia Pictures

   22   Indus., Inc. v. Fung, 710 F.3d 1020, 1032 (9th Cir. 2013).

   23          17.    The first element is satisfied by showing the distribution of either a device or a

   24   service that is “used in accomplishing the infringement.” Id. at 1033. Plaintiffs are likely to

   25   succeed in showing this element because CNT, Club TVpad, and AMG distribute the TVpad

   26   device, which enables users to view and transmit infringing streams of plaintiffs’ programming,

   27   and operate the TVpad Store, a service through which users can download the Infringing

   28   TVpad Apps.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 29 of 74 Page ID
                                    #:23010
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 23
                                                           18 of 61
                                                                 30 Page ID #:2604
                                                                            #:2569


    1          18.    Plaintiffs are also likely to show the second element, i.e., acts of infringement,

    2   based on forensic analysis that establishes both the App Infringers and the TVpad users directly

    3   infringe plaintiffs’ public-performance rights.         Munhwa Broadcasting Co v. Create New

    4   Technology (HK) Inc., Case No. CV 14-4213 RGK (RZx), Order, *4-5 (C.D. Cal. May 12,

    5   2015) (Docket No. 217). See also Aereo, 134 S.Ct. at 2509-10; WTV Systems, 824 F.Supp.2d at

    6   1009-11.

    7          19.    A defendant’s intent to foster or promote infringement can be established by a

    8   “clear expression” of such intent and “affirmative steps taken to foster infringement.” Grokster,

    9   Ltd., 545 U.S. at 936-37.      “The classic instance of inducement is by advertisement or

   10   solicitation that broadcasts a message designed to stimulate others to commit violations.” Id. at

   11   938.

   12          20.    Other evidence of intent to foster or promote infringement can include providing

   13   customer support and technical assistance to customers engaged in infringing uses; failing to

   14   “develop filtering tools or other mechanisms to diminish the infringing activity using their

   15   software[;]” or relying on infringing activity for the success of the defendant’s business model.

   16   Id. at 938-40; see also Fung, 710 F.3d at 1027-28, 1036-37 (holding that a website that

   17   encouraged users to upload torrent files with copyrighted content, offered links to copyrighted

   18   films and urged users to download them, responded to requests for help in locating and playing

   19   copyrighted materials, and failed to develop filters substantiated infringement through

   20   inducement); Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 454 F.Supp.2d 966, 987-88

   21   (C.D. Cal. 2006) (noting that defendant’s interface had a “Top 40” song category that “made it

   22   easier for users to share copyrighted content”).

   23          21.    Plaintiffs are likely to prove the third element by showing that defendant CNT

   24   intends to foster, promote and profit from App Infringers’ and TVpad users’ direct

   25   infringement of plaintiffs’ copyrighted works, since it advertises the Infringing TVpad Apps,

   26   and provides customer support and technical assistance to users attempting to locate, install and

   27   use the Infringing TVpad Apps to share Plaintiffs’ copyrighted programming. The evidence

   28   also demonstrates that CNT collaborates with App Infringers to develop and improve the Apps



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 30 of 74 Page ID
                                    #:23011
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 24
                                                           19 of 61
                                                                 30 Page ID #:2605
                                                                            #:2570


    1   and their content. It has not developed filtering tools, and the success of its business model

    2   depends on customers paying a one-time fee for unlimited access to infringing programming.

    3             22.   Plaintiffs are likely to prove that defendants Club TVpad and AMG likewise

    4   intend to foster, promote and profit from direct infringement because they advertise and

    5   promote the Infringing TVpad Apps and the availability of copyrighted programming on those

    6   apps; provide customer support and technical assistance to users; inform customers of the

    7   availability of CCTV and TVB content on the Apps; and have taken affirmative steps to

    8   facilitate user infringement by, inter alia, pre-loading Infringing TVapps on the devices.

    9             23.   Plaintiffs are likely to show the fourth element necessary to prove inducement

   10   because once intent to promote infringement is found, “the only causation requirement is that

   11   the product or service at issue [have been] used to infringe the plaintiff’s copyrights.” Fung,

   12   710 F.3d at 1037. In Fung, the Ninth Circuit rejected Fung’s argument that “the acts of

   13   infringement must be caused by the manifestations of the distributor’s improper object – that is,

   14   by the inducing messages themselves.” Fung, 710 F.3d at 1037; see also Grokster, 454

   15   F.Supp.2d at 985-86 (rejecting an argument that plaintiffs had to prove the inducing statements

   16   “caused specific acts of infringement”). Plaintiffs will likely be able to meet this standard

   17   because the TVpad device and TVpad Store are being used to infringe plaintiffs’ copyrighted

   18   works, and defendants are the but-for cause of that infringement, i.e., their distribution and

   19   promotion of the Infringing TVpad Apps is the mechanism that makes that infringement by a

   20   large number of users possible.

   21             24.   Plaintiffs are also likely to succeed on their alternate theory of contributory

   22   infringement through material contribution against defendant CNT.          In the Ninth Circuit,

   23   “material contribution” can be established by proof that “a computer system operator has actual

   24   knowledge that specific infringing material is available using its system and can take simple

   25   measures to prevent further damage to copyrighted works, yet continues to provide access to

   26   infringing works.” Perfect10, Inc., 508 F.3d at 1172.

   27             25.   A defendant has actual notice of infringement when it receives a cease and desist

   28   letter.    A&M Recordings, Inc., 239 F.3d at 1022 n. 6 (defendant had actual notice of



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 31 of 74 Page ID
                                    #:23012
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 25
                                                           20 of 61
                                                                 30 Page ID #:2606
                                                                            #:2571


    1   infringement because the RIAA informed it of the infringing files). A defendant materially

    2   contributes to infringement when it fails to take steps to protect the copyrighted works. See

    3   Perfect10, Inc., 508 F.3d at 1172 (“assist[ing] a worldwide audience of users to access

    4   infringing materials” constitutes material contribution); Gershwin Publ’g v. Columbia Artists

    5   Mgmt., 443 F.2d 1159, 1163 (2d Cir. 1971) (creating an audience for an infringing performance

    6   supports a finding of contributory liability).       A defendant also materially contributes to

    7   infringement by providing software that makes it an infringing peer in a peer-to-peer network.

    8   See A&M Recordings, Inc., 239 F.3d at 1022 (peer-to-peer software provides “the site and

    9   facilities” for direct infringers and constitutes contributory infringement). Plaintiffs are likely

   10   to success in establishing that CNT has materially contributed to infringement under all of these

   11   tests.

   12            26.   For these reasons, the court concludes that plaintiffs are likely to succeed on the

   13   merits of their contributory infringement claims against defendants.

   14                  3.     Vicarious Liability for Copyright Infringement

   15            27.   To show likelihood of success on their vicarious infringement claim against

   16   CNT, plaintiffs must show that CNT “profit[s] from direct infringement while declining to

   17   exercise a right to stop or limit it.” Grokster, Ltd., 545 U.S. at 930 (citing Shapiro, Bernstein &

   18   Co. v. H.L. Green Co., 316 F.2d 304, 307 (2d Cir. 1963)). Plaintiffs are likely to succeed on

   19   their vicarious infringement claim, because they will likely be able to establish that CNT (1)

   20   has the right and ability to control the infringing conduct, and (2) derives a direct financial

   21   benefit from it. Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259, 261 (9th Cir. 1996).

   22            28.   A defendant “exercises control over a direct infringer when he has both a legal

   23   right to stop or limit the directly infringing conduct, as well as the practical ability to do so.”

   24   Perfect10, Inc., 508 F.3d at 1173. “The ability to block infringers’ access to a particular

   25   environment for any reason whatsoever is evidence of the right and ability to supervise.” A&M

   26   Records, Inc., 239 F.3d at 1023; see also Fonovisa, 76 F.3d at 261-63 (holding that a

   27   contractual right to terminate or exclude swap meet vendors constituted control over pirated

   28   goods). Plaintiffs have adduced evidence that CNT has practical, operational control over the



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 32 of 74 Page ID
                                    #:23013
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 26
                                                           21 of 61
                                                                 30 Page ID #:2607
                                                                            #:2572


    1   apps in its store, and the servers necessary to stream content. They have also adduced evidence

    2   that it has the right to exclude Infringing Apps from its device and service.

    3          29.    “Financial benefit exists where the availability of infringing material ‘acts as a

    4   “draw” for customers.’” A&M Records, Inc., 239 F.3d at 1023. In Fonavisa, the swap meet

    5   operator reaped “substantial financial benefits from admission fees, concession stand sales and

    6   parking fees, all of which flow[ed] directly from customers who want[ed] to buy the counterfeit

    7   recordings at bargain basement prices.” Fonavisa, 76 F.3d at 263. In A&M Records, Inc.,

    8   Napster’s revenue was dependent on “increases in [its] user-base” that were stimulated by “the

    9   quality and quantity of available [infringing] music.” A&M Records, Inc., 239 F.3d at 1023.

   10   Plaintiffs are likely to succeed on their vicarious infringement claim because they have shown

   11   that CNT has financially benefited by offering free and unauthorized programming on the

   12   TVpad device.

   13          B.     Irreparable Harm

   14          30.    A plaintiff moving for a preliminary injunction must demonstrate not only that

   15   harm is irreparable, but also imminent. Caribbean Marine Servs. Co., Inc. v. Baldridge, 844

   16   F.2d 668, 674 (9th Cir. 1988); see also A&M Records, Inc., 239 F.3d at 1013.

   17          31.    Following issuance of the Supreme Court’s decision in eBay Inc. v.

   18   MercExchange, L.L.C., 574 U.S. 388, 391 (2006), a court may no longer presume irreparable

   19   injury from the bare fact of liability in a copyright case. Nonetheless, the injury caused by the

   20   presence of infringing products in the market – such as lost profits and customers, as well as

   21   damage to goodwill and business reputation – will often constitute irreparable injury. See, e.g.,

   22   Microsoft Corp. v. Atek 3000 Computer Inc., No. 06 CV 6403 (SLT) (SMG), 2008 WL

   23   2884761, *5 (E.D.N.Y. July 23, 2008) (concluding that plaintiff had shown irreparable injury

   24   where it had “established that defendant committed copyright and trademark infringement, and

   25   . . . there [was] no reason to conclude that defendant ha[d] or [would] cease its infringing acts

   26   because it continued infringing plaintiff’s copyrights and trademarks despite being notified of

   27   its infringement”). See also Stuhlbarg International Sales Co., Inc. v. John D. Brush and Co,

   28   Inc., 240 F.3d 832, 841 (9th Cir. 2001) (“Evidence of threatened loss of prospective customers



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 33 of 74 Page ID
                                    #:23014
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 27
                                                           22 of 61
                                                                 30 Page ID #:2608
                                                                            #:2573


    1   or goodwill certainly supports a finding of the possibility of irreparable harm”). Such harms

    2   are difficult to quantify and compensate over time. See Herb Reed Enterprises, LLC v. Florida

    3   Entertainment Management, Inc., 736 F.3d 1239, 1250 (9th Cir. 2013). Plaintiffs have amply

    4   demonstrated that they have suffered and will continue to suffer these types of harm.

    5          32.     Unauthorized and uncompensated internet streaming that competes directly with

    6   the television programming of a copyright owner and its authorized licensees causes harm that

    7   is “neither easily calculable, nor easily compensable.” BarryDriller, 915 F.Supp.2d at 1147

    8   (granting preliminary injunction); see also WTV Systems, 824 F.Supp.2d at 1012-13 (granting

    9   preliminary injunction); Fox Television Stations, Inc. v. Filmon X LLC, 966 F.Supp.2d 30, 49-

   10   51 (D.D.C. 2013) (granting preliminary injunction); Twentieth Century Fox Film Corp. v.

   11   iCraveTV, No. Civ.A. 00-121, Civ.A. 00-120, 2000 WL 255989, *8 (W.D. Pa. Feb. 8, 2000)

   12   (granting preliminary injunction).

   13          33.     Defendants’ conduct has caused irreparable harm because it has materially

   14   reduced the number of individuals who subscribe to authorized U.S. platforms for CCTV and

   15   TVB programming, causing lost market share. See, e.g., Robert Bosch LLC v. Pylon Mfg.

   16   Corp., 659 F.3d 1142, 1153 (Fed. Cir. 2011); i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831,

   17   861-62 (Fed. Cir. 2010); WTV Systems, 824 F.Supp.2d at 1013 (“[T]he loss of revenue to

   18   Plaintiffs and their licensees, which is already significant, will continue to increase, and

   19   constitutes irreparable injury to Plaintiffs”).

   20          34.     Defendants’ conduct further harms plaintiffs because it impairs plaintiffs’ ability

   21   to negotiate favorable licenses. “[I]f Defendants can transmit Plaintiffs’ content without paying

   22   a fee, Plaintiffs’ existing or prospective licensees will demand concessions to make up the loss

   23   of viewership to non-paying alternatives.” BarryDriller, 915 F.Supp.2d at 1147; WTV Systems,

   24   824 F.Supp.2d at 1012-13. Stated differently, “[t]he availability of [p]laintiffs’ content from

   25   sources other than [p]laintiffs also damages [p]laintiffs’ goodwill with their licensees.”

   26   BarryDriller, 915 F.Supp.2d at 1147.

   27          35.     Plaintiffs have also been irreparably harmed by defendants’ conduct because

   28   defendants’ unauthorized retransmission service not only streams CCTV and TVB



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 34 of 74 Page ID
                                    #:23015
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 28
                                                           23 of 61
                                                                 30 Page ID #:2609
                                                                            #:2574


    1   programming in the U.S. without a license, but does so several hours before that programming

    2   is available in the U.S. through authorized channels. This prevents plaintiffs from exercising

    3   exclusive control over the retransmission of their programming and is likely to damage

    4   plaintiffs’ goodwill with their licensees. See WTV Systems, 824 F.Supp.2d at 1012-13.

    5          36.     Defendants have also interfered with plaintiffs’ ability to develop a lawful

    6   market for internet distribution. See BarryDriller, 915 F.Supp.2d at 1147 (finding irreparable

    7   harm when defendants’ streaming service “compete[d] with Plaintiffs’ ability to develop their

    8   own internet distribution channels”); WTV Systems, 824 F.Supp.2d at 1013 (holding that an

    9   unauthorized streaming service “threaten[ed] to confuse consumers about video on demand

   10   products, and to create incorrect but lasting impressions with consumers about what constitutes

   11   lawful [internet-based] video on demand exploitation of Plaintiff’s Copyrighted Works,

   12   including confusion or doubt regarding whether payment is required for access to Copyrighted

   13   Works”).

   14          37.     Finally, defendants’ infringing conduct has caused irreparable harm because it

   15   impairs plaintiffs’ brand, reputation, and goodwill by associating their programming with poor

   16   quality transmissions and viewing experiences on the TVpad device. See WTV Systems, 824

   17   F.Supp.2d at 1014.

   18          38.     Absent preliminary injunctive relief, plaintiffs will continue to suffer these types

   19   of irreparable harm as a result of defendants’ activities.

   20          39.     Moreover, given the extensive nature of the infringement alleged, and for which

   21   defendants are likely secondarily liable, it is unclear that defendants would be able to satisfy

   22   any damages award entered. This further supports the conclusion that injunctive relief is

   23   appropriate in this case. Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F.Supp.2d

   24   1197, 1217 (C.D. Cal. 2007) (finding irreparable harm where defendant “induce[d] far more

   25   infringement than it could ever possibly redress with damages”).

   26          C.      Public Interest

   27          40.     “Enjoining violation of federal statutes is in the public interest.” American

   28   Trucking Associations, Inc. v. City of Los Angeles, 559 F.3d 1046, 1060 (9th Cir. 2009).



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 35 of 74 Page ID
                                    #:23016
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 29
                                                           24 of 61
                                                                 30 Page ID #:2610
                                                                            #:2575


    1          41.    The injunction plaintiffs seek is in the public interest. “[I]t is virtually axiomatic

    2   that the public interest can only be served by upholding copyright protections and

    3   correspondingly, preventing the misappropriation of skills, creative energies, and resources

    4   which are invested in the protected work.” WTV Systems, 824 F.Supp.2d at 1015 (citing Apple

    5   Computer, Inc. v. Franklin Computer Corp., 714 F.2d 1240, 1255 (3d Cir. 1983));

    6   BarryDriller, 915 F.Supp.2d at 1148. Any public interest the public may have “in receiving

    7   copyrighted content for free is outweighed by the need to incentivize the creation of original

    8   works.” Grokster, 518 F.Supp.2d at 1222.

    9          D.     Balance of Equities

   10          42.    Courts must “balance the competing claims of injury and must consider the effect

   11   on each party of the granting or withholding of the requested relief.” Amoco Prod. Co. v.

   12   Village of Gambell, Alaska, 480 U.S. 531, 542 (1987); Cybermedia, Inc. v. Symantec Corp., 19

   13   F.Supp.2d 1070, 1073 (N.D. Cal. 1998).

   14          43.    Here, the balance of equities weighs in plaintiffs’ favor and supports entry of a

   15   preliminary injunction. The only harm defendants will suffer if an injunction is entered is that

   16   they will be unable to continue to profit from infringing plaintiffs’ copyrights. Defendants

   17   “’cannot complain of the harm that will befall [them] when being forced to desist from [their]

   18   infringing activities.’” BarryDriller, 915 F.Supp.2d at 1147 (quoting Triad Sys. Corp. v.

   19   Southeastern Express Co., 64 F.3d 1330, 1338 (9th Cir. 1995)). See also WTV Systems, 824

   20   F.Supp.2d at 1014-15.

   21          44.    It is appropriate to dispense with the filing of a bond in this case. It is well

   22   established in the Ninth Circuit that “Rule 65(c) [ ]vests the district court ‘with discretion as to

   23   the amount of security required, if any.’” Jorgensen v. Cassiday, 320 F.3d 906, 919 (9th Cir.

   24   2003) (quoting Barahone-Gomez v. Reno, 167 F.3d 1228, 1237 (9th Cir. 1999)). In particular,

   25   “[t]he district court may dispense with the filing of a bond when it concludes there is no

   26   realistic likelihood of harm to the defendant from enjoining his or her conduct.” Jorsenson,

   27   320 F.3d at 919. Here, the court finds no realistic likelihood that a preliminary injunction will

   28   harm defendants and thus will not require plaintiffs to post an injunction bond.



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  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 36 of 74 Page ID
                                    #:23017
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 30
                                                           25 of 61
                                                                 30 Page ID #:2611
                                                                            #:2576


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    2          Based on these findings of fact and conclusions of law, the court grants Plaintiffs’

    3   motion for preliminary injunction.

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    5
        DATE: June 11, 2015                         ___________________________________
    6                                                     MARGARET M. MORROW
                                                      UNITED STATES DISTRICT JUDGE
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 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 37 of 74 Page ID
                                   #:23018




Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 31
                                                           26 of 61
                                                                 30 Page ID #:2612
                                                                            #:2577




                              EXHIBIT A
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 38 of 74 Page ID
                                   #:23019
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 32
                                                           27 of 61
                                                                 30 Page ID #:2613
                                                                            #:2578



                                    Exhibit   – Infringing TVpad Apps


                                              TVpad3                          TVpad4


    Infringing TVpad App              Plaintiffs’ Programming         Plaintiffs’ Programming
           and icon                           and Mode                        and Mode


          BETV PLUS                                                CCTV 1 (live & replay live),
                                                                   CCTV 2 (live), CCTV 3 (live &
                                                                   replay live), CCTV 4 (live &
                                                                   replay live), CCTV6 (live &
                                                                   replay live), CCTV 10 (live),
                                                                   CCTV 11 (live), CCTV12 (live),
                                                                   CCTV13 (live & replay live),
                                                                   CCTV14 (live & replay live)


            BETV_HD                CCTV 1 HD (live), CCTV 5 HD
                                   (live)




             BETV II               CCTV 1 (live & replay live),
                                   CCTV 2 (live), CCTV 3 (live &
                                   replay live), CCTV 4 (live &
                                   replay live), CCTV 5 (live &
                                   replay live), CCTV 5+ (live),
                                   CCTV6 (live & replay live),
                                   CCTV 10 (live), CCTV 11
                                   (live), CCTV12 (live), CCTV13
                                   (live & replay live), CCTV14
                                   (live & replay live), CCTV风云
                                   足球（CCTV fengyun soccer)
                                   (live)




   DWT 26394458v1 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 39 of 74 Page ID
                                   #:23020
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 33
                                                           28 of 61
                                                                 30 Page ID #:2614
                                                                            #:2579




                                             TVpad3                          TVpad4


    Infringing TVpad App              Plaintiffs’ Programming        Plaintiffs’ Programming
           and icon                           and Mode                       and Mode


              BETV                 CCTV 1, CCTV 2, CCTV 3,
                                   CCTV 4, CCTV 5+, CCTV6,
                                   CCTV 10, CCTV 11, CCTV12,
                                   CCTV13, CCTV14, CCTV风云
                                   足球（CCTV fengyun soccer)
                                   (all live)


           粵海時移                    JADE HD, JADE (both time-       JADE HD, JADE (both time-
        (Yue Hai Shi Yi)           shifted by 12 hours)            shifted by 12 hours)




          粵海寬頻                     JADE HD, JADE HD, J2,
      (Yue Hai Kuan Pin)           JADE, PEARL, iNews (all live)




          粵海寬頻2                    JADE HD, JADE, J2 (Live and
     (Yue Hai Kuan Pin 2)          replay live) PEARL, iNews
                                   (live)




                                                    2
   DWT 26394458v1 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 40 of 74 Page ID
                                   #:23021
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 34
                                                           29 of 61
                                                                 30 Page ID #:2615
                                                                            #:2580




                                             TVpad3                         TVpad4


    Infringing TVpad App              Plaintiffs’ Programming       Plaintiffs’ Programming
           and icon                           and Mode                      and Mode


        港粤網絡電視                     JADE HD, JADE, J2 (live and   JADE HD, JADE, J2, PEARL
     (Gang Yue Wang Luo            replay live); PEARL, iNews    (live and replay live); iNews
          Dian Shi)                (live)                        (live)

                                   TVB programs on demand        TVB programs on demand




           粵海直播                    iNews, J2, PEARL, JADE,
        (Yue Hai Zhi Bo)           JADE HD (live)




              516TV                TVBS (live)




          516網路電視                  CCTV4 (live)                  CCTV4 (live)
        (516 Online TV)
                                   TVBS (live)                   TVBS (live)

                                                                 TVBS News (live)




                                                    3
   DWT 26394458v1 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 41 of 74 Page ID
                                   #:23022
Case 2:15-cv-01869-MMM-AJW Document 98
                                    97 Filed 06/11/15 Page 35
                                                           30 of 61
                                                                 30 Page ID #:2616
                                                                            #:2581




                                             TVpad3                      TVpad4


    Infringing TVpad App             Plaintiffs’ Programming      Plaintiffs’ Programming
           and icon                          and Mode                     and Mode


               HITV                JADE HD, J2, JADE, PEARL,
                                   iNews (live)




            体育online               CCTV 1, CCTV 5, CCTV 5+,     CCTV 5, CCTV 5+, CCTV风云
          (Sport Online)           CCTV风云足球（CCTV                足球 (CCTV fengyun soccer),
                                   fengyun soccer) (all live)   CCTV 高尔夫. 网球 (CCTV
                                                                Golf/ Tennis) (all live)




          港粵快看                     TVB programs on demand
     (Gang Yue Kuai Kan)




    港台武俠(Gang Tai Wu               TVB programs on demand       TVB programs on demand
        Xia)




                                                   4
   DWT 26394458v1 0094038-000021
 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 42 of 74 Page ID
                                   #:23023




Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 36 of 61 Page ID #:2617




                              EXHIBIT B
 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 43 of 74 Page ID
                                   #:23024




Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 37 of 61 Page ID #:2618


                                          Registered TVB Programs (Live)
                                                                              Copyright Registration
          Title of Work and Episode Number               Date Broadcast
                                                                                    Number
    All That is Bitter is Sweet, Ep. 16           September 29, 2014       PA 1-922-865
    All That is Bitter is Sweet, Ep. 17           September 30, 2014       PA 1-922-865
    All That is Bitter is Sweet, Ep. 18           October 1, 2014          PA 1-922-865
    All That is Bitter is Sweet, Ep. 19           October 2, 2014          PA 1-922-865
    Big Boys Club, Ep. 1200                       September 29, 2014       PA 1-922-870
    Big Boys Club, Ep. 1201                       September 30, 2014       PA 1-922-866
    Big Boys Club, Ep. 1202                       October 1, 2014          PA 1-922-875
    Big Boys Club, Ep. 1203                       October 2, 2014          PA 1-922-872
    Come Home Love, Episode 610                   September 29, 2014       PA 1-922-874
    Come Home Love, Episode 611                   September 30, 2014       PA 1-922-874
    Come Home Love, Episode 613                   October 2, 2014          PA 1-922-874
    Come Home Love, Episode 614                   October 3, 2014          PA 1-922-874
    Line Walker, Ep. 26                           September 29, 2014       PA 1-922-863
    Line Walker, Ep. 27                           September 30, 2014       PA 1-922-863
    Line Walker, Ep. 28                           October 1, 2014          PA 1-922-863
    Line Walker, Ep. 30                           October 3, 2014          PA 1-922-863
    Line Walker, Ep. 31                           October 3, 2014          PA 1-922-863
    News At Seven Thirty (Pearl) 2014 9/29        September 29, 2014       PA 1-922-869
    News At Seven Thirty (Pearl) 2014 9/30        September 30, 2014       PA 1-922-867
    News At Seven Thirty (Pearl) 2014 10/1        October 1, 2014          PA 1-922-873
    Pleasure and Leisure 2014 9/30                September 30, 2014       PA 1-922-868
    Pleasure and Leisure 2014 10/1                October 1, 2014          PA 1-922-864
    Pleasure and Leisure 2014 10/2                October 2, 2014          PA 1-922-871
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 44 of 74 Page ID
                                  #:23025
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 38 of 61 Page ID #:2619




                                   Registered TVB Programs (VOD)

          TITLE OF WORK AND EPISODE NUMBER              COPYRIGHT REGISTRATION NUMBER
   A Change of Destiny, Ep. 1                          PA0001388870
   A Change of Destiny, Ep. 9                          PA0001388870
   A Change of Destiny, Ep. 10                         PA0001388870
   A Change of Destiny, Ep. 14                         PA0001388870
   A Change of Destiny, Ep. 15                         PA0001388870
   A Change of Destiny, Ep. 20                         PA0001388870
   A Change of Heart, Ep. 1                            PA0001866892
   A Change of Heart, Ep. 6                            PA0001866892
   A Change of Heart, Ep. 11                           PA0001866892
   A Change of Heart, Ep. 16                           PA0001866892
   A Change of Heart, Ep. 22                           PA0001866892
   A Change of Heart, Ep.26                            PA0001866892
   A Change of Heart, Ep. 30                           PA0001866892
   A Great Way To Care II, Ep. 1                       PA0001847097
   A Great Way To Care II, Ep. 4                       PA0001847097
   A Great Way To Care II, Ep. 9                       PA0001847097
   A Great Way To Care II, Ep. 13                      PA0001847097
   A Great Way To Care II, Ep. 18                      PA0001847097
   A Great Way To Care II, Ep. 22                      PA0001847097
   A Great Way To Care II, Ep. 25                      PA0001847097
   A Step into the Past, Ep. 1                         PA0001074513
   A Step into the Past, Ep. 9                         PA0001074513
   A Step into the Past, Ep. 13                        PA0001074513
   A Step into the Past, Ep. 20                        PA0001074513
   A Step into the Past, Ep. 30                        PA0001074512
   A Step into the Past, Ep. 40                        PA0001074512
   Always And Ever, Ep 1                               PA0001866873
   Always And Ever, Ep. 5                              PA0001866873



                                                 2
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 45 of 74 Page ID
                                  #:23026
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 39 of 61 Page ID #:2620



         TITLE OF WORK AND EPISODE NUMBER       COPYRIGHT REGISTRATION NUMBER
   Always And Ever, Ep. 10                      PA0001866873
   Always And Ever, Ep. 12                      PA0001866873
   Always And Ever, Ep. 16                      PA0001866873
   Always And Ever, Ep. 21                      PA0001866873
   Always And Ever, Ep. 25                      PA0001866873
   Always And Ever, Ep. 30                      PA0001866873
   Always And Ever, Ep. 31                      PA0001866873
   Awfully Lawful, Ep. 1                        PA0001866872
   Awfully Lawful, Ep. 5                        PA0001866872
   Awfully Lawful, Ep. 9                        PA0001866872
   Awfully Lawful, Ep. 14                       PA0001866872
   Awfully Lawful, Ep. 20                       PA0001866872
   Beauty At War, Ep. 1                         PA0001849236
   Beauty At War, Ep. 5                         PA0001849236
   Beauty At War, Ep. 10                        PA0001849236
   Beauty At War, Ep. 14                        PA0001849236
   Beauty At War, Ep. 19                        PA0001849236
   Beauty At War, Ep. 23                        PA0001849236
   Beauty At War, Ep. 30                        PA0001849236
   Black Heart White Soul, Ep. 1                PA0001920529
   Black Heart White Soul, Ep. 4                PA0001920529
   Black Heart White Soul, Ep. 10               PA0001920529
   Black Heart White Soul, Ep. 15               PA0001920529
   Black Heart White Soul, Ep. 25               PA0001920529
   Black Heart White Soul, Ep. 30               PA0001920529
   Bounty Lady, Ep. 1                           PA0001890407
   Bounty Lady, Ep. 5                           PA0001890407
   Bounty Lady, Ep. 10                          PA0001890407
   Bounty Lady, Ep. 15                          PA0001890407
   Bounty Lady, Ep. 19                          PA0001890407
   Brother's Keeper, Ep. 1                      PA0001878628



                                            3
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 46 of 74 Page ID
                                  #:23027
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 40 of 61 Page ID #:2621



          TITLE OF WORK AND EPISODE NUMBER       COPYRIGHT REGISTRATION NUMBER
   Brother's Keeper, Ep. 6                       PA0001878628
   Brother's Keeper, Ep. 10                      PA0001878628
   Brother's Keeper, Ep. 13                      PA0001878628
   Brother's Keeper, Ep. 18                      PA0001878628
   Brother's Keeper, Ep. 23                      PA0001878628
   Brother's Keeper, Ep. 30                      PA0001878628
   Brother's Keeper, Ep. 31                      PA0001878628
   Bullet Brain, Ep. 1                           PA0001847052
   Bullet Brain, Ep. 6                           PA0001847052
   Bullet Brain, Ep. 9                           PA0001847052
   Bullet Brain, Ep. 13                          PA0001847052
   Bullet Brain, Ep. 18                          PA0001847052
   Bullet Brain, Ep. 21                          PA0001847052
   Bullet Brain, Ep. 25                          PA0001847052
   Coffee Cat Mama, Ep. 1                        PA0001910249
   Coffee Cat Mama, Ep. 6                        PA0001910249
   Coffee Cat Mama, Ep. 11                       PA0001910249
   Coffee Cat Mama, Ep. 16                       PA0001910249
   Coffee Cat Mama, Ep. 20                       PA0001910249
   Come Home Love, Ep. 1                         PA0001872347
   Come Home Love, Ep. 31                        PA0001872347
   Come Home Love, Ep. 61                        PA0001872347
   Come Home Love, Ep. 91                        PA0001872347
   Come Home Love, Ep. 113                       PA0001872347
   Come Home Love, Ep. 121                       PA0001872347
   Come Home Love, Ep. 151                       PA0001872347
   Daddy Good Deeds, Ep. 1                       PA0001857840
   Daddy Good Deeds, Ep. 5                       PA0001857840
   Daddy Good Deeds, Ep. 10                      PA0001857840
   Daddy Good Deeds, Ep. 15                      PA0001857840
   Daddy Good Deeds, Ep. 20                      PA0001857840



                                             4
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 47 of 74 Page ID
                                  #:23028
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 41 of 61 Page ID #:2622



          TITLE OF WORK AND EPISODE NUMBER       COPYRIGHT REGISTRATION NUMBER
   Divas In Distress, Ep. 1                      PA0001827059
   Divas In Distress, Ep. 5                      PA0001827059
   Divas In Distress, Ep. 10                     PA0001827059
   Divas In Distress, Ep. 15                     PA0001827059
   Divas In Distress, Ep. 20                     PA0001827059
   Duke of Mount Deer, Ep. 1                     PA0000923706
   Duke of Mount Deer, Ep. 10                    PA0000923706
   Duke of Mount Deer, Ep. 14                    PA0000923706
   Duke of Mount Deer, Ep. 15                    PA0000923706
   Duke of Mount Deer, Ep. 22                    PA0000923708
   Duke of Mount Deer, Ep. 29                    PA0000923708
   Duke of Mount Deer, Ep. 30                    PA0000923708
   Duke of Mount Deer, Ep. 35                    PA0000923708
   Duke of Mount Deer, Ep. 40                    PA0000923708
   Duke of Mount Deer, Ep. 41                    PA0000922071
   Duke of Mount Deer, Ep. 45                    PA0000922071
   Friendly Fire, Ep. 1                          PA0001840636
   Friendly Fire, Ep. 6                          PA0001840636
   Friendly Fire, Ep. 10                         PA0001840636
   Friendly Fire, Ep. 15                         PA0001840636
   Friendly Fire, Ep. 19                         PA0001840636
   Friendly Fire, Ep. 24                         PA0001840636
   Ghetto Justice II, Ep. 1                      PA0001827048
   Ghetto Justice II, Ep. 6                      PA0001827048
   Ghetto Justice II, Ep. 11                     PA0001827048
   Ghetto Justice II, Ep. 15                     PA0001827048
   Ghetto Justice II, Ep. 20                     PA0001827048
   Ghost Dragon of Cold Mountain, Ep. 1          PA0001918949
   Ghost Dragon of Cold Mountain, Ep. 2          PA0001918949
   Ghost Dragon of Cold Mountain, Ep. 5          PA0001918949
   Ghost Dragon of Cold Mountain, Ep. 10         PA0001918949



                                             5
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 48 of 74 Page ID
                                  #:23029
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 42 of 61 Page ID #:2623



         TITLE OF WORK AND EPISODE NUMBER       COPYRIGHT REGISTRATION NUMBER
   Ghost Dragon of Cold Mountain, Ep. 15        PA0001918949
   Ghost Dragon of Cold Mountain, Ep. 19        PA0001918949
   Ghost Dragon of Cold Mountain, Ep. 25        PA0001918949
   Ghost Dragon of Cold Mountain, Ep. 30        PA0001918949
   Gilded Chopsticks, Ep. 1                     PA0001906159
   Gilded Chopsticks, Ep. 5                     PA0001906159
   Gilded Chopsticks, Ep. 10                    PA0001906159
   Gilded Chopsticks, Ep. 16                    PA0001906159
   Gilded Chopsticks, Ep. 20                    PA0001906159
   Gilded Chopsticks, Ep. 25                    PA0001906159
   Gloves Come Off, Ep. 1                       PA0001857855
   Gloves Come Off, Ep. 5                       PA0001857855
   Gloves Come Off, Ep. 10                      PA0001857855
   Gloves Come Off, Ep. 15                      PA0001857855
   Gloves Come Off, Ep. 20                      PA0001857855
   Gloves Come Off, Ep. 25                      PA0001857855
   Gods of Honour, Ep. 1                        PA0001063318
   Gods of Honour, Ep. 10                       PA0001063318
   Gods of Honour, Ep. 20                       PA0001063318
   Gods of Honour, Ep. 30                       PA0001063319
   Gods of Honour, Ep. 38                       PA0001063319
   Grace Under Fire, Ep. 1                      PA0001776413
   Grace Under Fire, Ep. 6                      PA0001776413
   Grace Under Fire, Ep. 12                     PA0001776413
   Grace Under Fire, Ep. 13                     PA0001776413
   Grace Under Fire, Ep. 18                     PA0001776413
   Grace Under Fire, Ep. 25                     PA0001776413
   Grace Under Fire. Ep. 32                     PA0001776413
   Heaven Sword and Dragon Sabre, Ep. 1         PA0001012498
   Heaven Sword and Dragon Sabre. Ep. 10        PA0001012498
   Heaven Sword and Dragon Sabre, Ep. 20        PA0001012498



                                            6
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 49 of 74 Page ID
                                  #:23030
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 43 of 61 Page ID #:2624



         TITLE OF WORK AND EPISODE NUMBER       COPYRIGHT REGISTRATION NUMBER
   Heaven Sword and Dragon Sabre, Ep. 30        PA0001012450
   Heaven Sword and Dragon Sabre, Ep. 31        PA0001012450
   Heaven Sword and Dragon Sabre, Ep. 41        PA0001012450
   Highs and Lows, Ep. 1                        PA0001840632
   Highs and Lows, Ep. 5                        PA0001840632
   Highs and Lows, Ep. 10                       PA0001840632
   Highs and Lows, Ep. 15                       PA0001840632
   Highs and Lows, Ep. 20                       PA0001840632
   Highs and Lows, Ep. 26                       PA0001840632
   Highs and Lows, Ep. 29                       PA0001840632
   House of Harmony and Vengeance, Ep. 1        PA0001857846
   House of Harmony and Vengeance, Ep. 6        PA0001857846
   House of Harmony and Vengeance, Ep. 11       PA0001857846
   House of Harmony and Vengeance, Ep. 16       PA0001857846
   House of Harmony and Vengeance, Ep. 21       PA0001857846
   House of Harmony and Vengeance, Ep. 26       PA0001857846
   House of Harmony and Vengeance, Ep. 30       PA0001857846
   Inbound Troubles, Ep. 1                      PA0001848886
   Inbound Troubles, Ep. 5                      PA0001848886
   Inbound Troubles, Ep. 10                     PA0001848886
   Inbound Troubles, Ep. 15                     PA0001848886
   Inbound Troubles, Ep. 20                     PA0001848886
   Karma Rider, Ep. 1                           PA0001863828
   Karma Rider, Ep. 6                           PA0001863828
   Karma Rider, Ep. 11                          PA0001863828
   Karma Rider, Ep. 15                          PA0001863828
   Karma Rider, Ep. 20                          PA0001863828
   King Maker, Ep. 1                            PA0001827056
   King Maker, Ep. 5                            PA0001827056
   King Maker, Ep. 10                           PA0001827056
   King Maker, Ep. 15                           PA0001827056



                                            7
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 50 of 74 Page ID
                                  #:23031
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 44 of 61 Page ID #:2625



          TITLE OF WORK AND EPISODE NUMBER       COPYRIGHT REGISTRATION NUMBER
   King Maker, Ep. 20                            PA0001827056
   King Maker, Ep. 22                            PA0001827056
   King Maker, Ep. 26                            PA0001827056
   Man In Charge, Ep. 1                          PA0001738145
   Man In Charge, Ep. 9                          PA0001738145
   Man In Charge, Ep. 12                         PA0001738145
   Man In Charge, Ep. 19                         PA0001738145
   Man In Charge, Ep. 20                         PA0001738145
   Master of Play, Ep. 1                         PA0001827046
   Master of Play, Ep. 6                         PA0001827046
   Master of Play, Ep. 11                        PA0001827046
   Master of Play, Ep. 16                        PA0001827046
   Master of Play, Ep. 21                        PA0001827046
   Master of Play, Ep. 27                        PA0001827046
   Master of Play, Ep. 30                        PA0001827046
   Missing You, Ep. 1                            PA0001840634
   Missing You, Ep. 5                            PA0001840634
   Missing You, Ep. 10                           PA0001840634
   Missing You, Ep. 15                           PA0001840634
   Missing You, Ep. 20                           PA0001840634
   Never Dance Alone, Ep. 1                      PA0001919570
   Never Dance Alone, Ep. 5                      PA0001919570
   Never Dance Alone, Ep. 10                     PA0001919570
   Never Dance Alone, Ep. 14                     PA0001919570
   Never Dance Alone, Ep. 19                     PA0001919570
   Never Dance Alone, Ep. 25                     PA0001919570
   Never Dance Alone, Ep. 30                     PA0001919570
   No Good Either Way, Ep. 1                     PA0001827058
   No Good Either Way, Ep. 6                     PA0001827058
   No Good Either Way, Ep. 10                    PA0001827058
   No Good Either Way, Ep. 14                    PA0001827058



                                             8
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 51 of 74 Page ID
                                  #:23032
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 45 of 61 Page ID #:2626



         TITLE OF WORK AND EPISODE NUMBER       COPYRIGHT REGISTRATION NUMBER
   No Good Either Way, Ep. 20                   PA0001827058
   Outbound Love, Ep. 1                         PA0001891391
   Outbound Love, Ep. 4                         PA0001891391
   Outbound Love, Ep. 8                         PA0001891391
   Outbound Love, Ep. 14                        PA0001891391
   Outbound Love, Ep. 18                        PA0001891391
   Outbound Love, Ep. 21                        PA0001891391
   Queen Divas, Ep. 1                           PA0001894494
   Queen Divas, Ep. 5                           PA0001894494
   Queen Divas, Ep. 9                           PA0001894494
   Queen Divas, Ep. 14                          PA0001894494
   Reality Check, Ep. 1                         PA0001845356
   Reality Check, Ep. 5                         PA0001845356
   Reality Check, Ep. 10                        PA0001845356
   Reality Check, Ep. 15                        PA0001845356
   Reality Check, Ep. 20                        PA0001845356
   Return of the Silver Tongue, Ep. 1           PA0001910251
   Return of the Silver Tongue, Ep. 5           PA0001910251
   Return of the Silver Tongue, Ep. 10          PA0001910251
   Return of the Silver Tongue, Ep. 15          PA0001910251
   Return of the Silver Tongue, Ep. 20          PA0001910251
   Return of the Silver Tongue, Ep. 25          PA0001910251
   Ruse of Engagement, Ep. 1                    PA0001901753
   Ruse of Engagement, Ep. 5                    PA0001901753
   Ruse of Engagement, Ep. 9                    PA0001901753
   Ruse of Engagement, Ep 15                    PA0001901753
   Ruse of Engagement, Ep. 20                   PA0001901753
   Ruse of Engagement, Ep. 24                   PA0001901753
   Season of Love, Ep. 1                        PA0001840377
   Season of Love, Ep. 5                        PA0001840377
   Season of Love, Ep. 10                       PA0001840377



                                            9
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 52 of 74 Page ID
                                  #:23033
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 46 of 61 Page ID #:2627



          TITLE OF WORK AND EPISODE NUMBER        COPYRIGHT REGISTRATION NUMBER
   Season of Love, Ep. 15                         PA0001840377
   Season of Love, Ep. 20                         PA0001840377
   Sergeant Tabloid, Ep. 1                        PA0001827198
   Sergeant Tabloid, Ep. 6                        PA0001827198
   Sergeant Tabloid, Ep. 11                       PA0001827198
   Sergeant Tabloid, Ep. 15                       PA0001827198
   Sergeant Tabloid, Ep. 20                       PA0001827198
   Silver Spoon, Sterling Shackles, Ep. 1         PA0001840638
   Silver Spoon, Sterling Shackles, Ep. 4         PA0001840638
   Silver Spoon, Sterling Shackles, Ep. 8         PA0001840638
   Silver Spoon, Sterling Shackles, Ep. 13        PA0001840638
   Silver Spoon, Sterling Shackles, Ep 18         PA0001840638
   Silver Spoon, Sterling Shackles, Ep. 22        PA0001840638
   Silver Spoon, Sterling Shackles, Ep. 27        PA0001840638
   Silver Spoon, Sterling Shackles, Ep. 33        PA0001840638
   Silver Spoon, Sterling Shackles, Ep. 40        PA0001840638
   Slow Boat Home, Ep. 1                          PA0001857765
   Slow Boat Home, Ep. 6                          PA0001857765
   Slow Boat Home, Ep. 11                         PA0001857765
   Slow Boat Home, Ep. 15                         PA0001857765
   Slow Boat Home, Ep. 19                         PA0001857765
   Slow Boat Home, Ep. 23                         PA0001857765
   Slow Boat Home, Ep. 25                         PA0001857765
   Sniper Standoff, Ep. 1                         PA0001881211
   Sniper Standoff, Ep. 5                         PA0001881211
   Sniper Standoff, Ep. 10                        PA0001881211
   Sniper Standoff, Ep. 15                        PA0001881211
   Sniper Standoff, Ep. 20                        PA0001881211
   Sniper Standoff, Ep. 22                        PA0001881211
   Sniper Standoff, Ep. 25                        PA0001881211
   Storm in a Cocoon, Ep. 1                       PA0001901640



                                             10
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 53 of 74 Page ID
                                  #:23034
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 47 of 61 Page ID #:2628



          TITLE OF WORK AND EPISODE NUMBER        COPYRIGHT REGISTRATION NUMBER
   Storm in a Cocoon, Ep. 6                       PA0001901640
   Storm in a Cocoon, Ep. 10                      PA0001901640
   Storm in a Cocoon, Ep. 15                      PA0001901640
   Storm in a Cocoon, Ep. 19                      PA0001901640
   Storm in a Cocoon, Ep. 24                      PA0001901640
   Storm in a Cocoon, Ep. 29                      PA0001901640
   Storm in a Cocoon, Ep. 31                      PA0001901640
   Sweetness in the Salt, Ep. 1                   PA0001660153
   Sweetness in the Salt, Ep. 9                   PA0001660153
   Sweetness in the Salt, Ep. 13                  PA0001660153
   Sweetness in the Salt, Ep. 17                  PA0001660153
   Sweetness in the Salt, Ep. 21                  PA0001727287
   Sweetness in the Salt, Ep. 23                  PA0001727287
   Sweetness in the Salt, Ep. 25                  PA0001727287
   Swipe Tap Love, Ep. 1                          PA0001900069
   Swipe Tap Love. Ep. 5                          PA0001900069
   Swipe Tap Love, Ep. 10                         PA0001900069
   Swipe Tap Love, Ep. 14                         PA0001900069
   Swipe Tap Love, Ep. 20                         PA0001900069
   The Confidant, Ep. 1                           PA0001840635
   The Confidant, Ep. 6                           PA0001840635
   The Confidant, Ep. 11                          PA0001840635
   The Confidant, Ep. 17                          PA0001840635
   The Confidant, Ep. 22                          PA0001840635
   The Confidant, Ep. 28                          PA0001840635
   The Confidant, Ep. 33                          PA0001840635
   The Day of Days, Ep. 1                         PA0001839833
   The Day of Days, Ep. 5                         PA0001839833
   The Day of Days, Ep. 10                        PA0001839833
   The Day of Days, Ep. 15                        PA0001839833
   The Day of Days, Ep. 20                        PA0001839833



                                             11
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 54 of 74 Page ID
                                  #:23035
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 48 of 61 Page ID #:2629



         TITLE OF WORK AND EPISODE NUMBER        COPYRIGHT REGISTRATION NUMBER
   The Four, Ep. 1                               PA0001638548
   The Four, Ep. 5                               PA0001638548
   The Four, Ep. 10                              PA0001638548
   The Four, Ep. 12                              PA0001638548
   The Four, Ep. 15                              PA0001638548
   The Four, Ep. 20                              PA0001638548
   The Four, Ep. 24                              PA0001638550
   The Four, Ep. 25                              PA0001638550
   The Greatness of A Hero, Ep. 1                PA0001660075
   The Greatness of A Hero, Ep. 5                PA0001660075
   The Greatness of A Hero, Ep. 10               PA0001660075
   The Greatness of A Hero, Ep. 14               PA0001660075
   The Greatness of A Hero, Ep. 20               PA0001660075
   The Hippocratic Crush, Ep. 1                  PA0001857863
   The Hippocratic Crush, Ep. 6                  PA0001857863
   The Hippocratic Crush, Ep. 11                 PA0001857863
   The Hippocratic Crush, Ep. 16                 PA0001857863
   The Hippocratic Crush, Ep. 21                 PA0001857863
   The Hippocratic Crush, ep. 25                 PA0001857863
   The Hippocratic Crush II, Ep. 1               PA0001883626
   The Hippocratic Crush II, Ep. 6               PA0001883626
   The Hippocratic Crush II, Ep. 11              PA0001883626
   The Hippocratic Crush II, Ep. 16              PA0001883626
   The Hippocratic Crush II, Ep. 21              PA0001883626
   The Hippocratic Crush II, Ep. 25              PA0001883626
   The Hippocratic Crush II, Ep. 30              PA0001883626
   The Last Steep Ascent, Ep. 1                  PA0001827043
   The Last Steep Ascent, Ep. 5                  PA0001827043
   The Last Steep Ascent, Ep. 12                 PA0001827043
   The Last Steep Ascent, Ep. 17                 PA0001827043
   The Last Steep Ascent, Ep. 20                 PA0001827043



                                            12
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 55 of 74 Page ID
                                  #:23036
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 49 of 61 Page ID #:2630



         TITLE OF WORK AND EPISODE NUMBER        COPYRIGHT REGISTRATION NUMBER
   The Last Steep Ascent, Ep. 24                 PA0001827043
   The Master of Tai Chi, Ep. 1                  PA0001619042
   The Master of Tai Chi, Ep. 8                  PA0001619042
   The Master of Tai Chi, Ep. 16                 PA0001619042
   The Master of Tai Chi, Ep. 17                 PA0001619042
   The Master of Tai Chi, Ep. 23                 PA0001619041
   The Ultimate Addiction, Ep. 1                 PA0001916638
   The Ultimate Addiction, Ep. 6                 PA0001916638
   The Ultimate Addiction, Ep. 11                PA0001916638
   The Ultimate Addiction, Ep. 15                PA0001916638
   The Ultimate Addiction, Ep. 17                PA0001916638
   The Ultimate Addiction, Ep. 22                PA0001916638
   The Ultimate Addiction, Ep. 26                PA0001916638
   The Ultimate Addiction, Ep. 30                PA0001916638
   Three Kingdoms RPG, Ep. 1                     PA0001827052
   Three Kingdoms RPG, Ep. 5                     PA0001827052
   Three Kingdoms RPG, Ep. 9                     PA0001827052
   Three Kingdoms RPG, Ep. 13                    PA0001827052
   Three Kingdoms RPG, Ep. 18                    PA0001827052
   Three Kingdoms RPG, Ep. 21                    PA0001827052
   Three Kingdoms RPG, Ep. 24                    PA0001827052
   Tiger Cubs, Ep. 1                             PA0001827044
   Tiger Cubs, Ep. 5                             PA0001827044
   Tiger Cubs, Ep. 9                             PA0001827044
   Tiger Cubs, Ep. 13                            PA0001827044
   Triumph in The Skies II, Ep. 1                PA0001877655
   Triumph in The Skies II, Ep. 7                PA0001877655
   Triumph in The Skies II, Ep. 13               PA0001877655
   Triumph in The Skies II, Ep. 19               PA0001877655
   Triumph in The Skies II, Ep. 24               PA0001877655
   Triumph in The Skies II, Ep. 29               PA0001877655



                                            13
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 56 of 74 Page ID
                                  #:23037
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 50 of 61 Page ID #:2631



          TITLE OF WORK AND EPISODE NUMBER        COPYRIGHT REGISTRATION NUMBER
   Triumph in The Skies II, Ep. 33                PA0001877655
   Triumph in The Skies II, Ep. 39                PA0001877655
   Triumph in The Skies II, Ep. 41                PA0001877655
   Twin of Brothers, Ep. 1                        PA0001242731
   Twin of Brothers, Ep. 5                        PA0001242731
   Twin of Brothers, Ep. 10                       PA0001242731
   Twin of Brothers, Ep. 13                       PA0001242731
   Twin of Brothers, Ep. 18                       PA0001242731
   Twin of Brothers, Ep. 23                       PA0001242730
   Twin of Brothers, Ep. 25                       PA0001242730
   Twin of Brothers, Ep. 30                       PA0001242730
   Twin of Brothers, Ep. 35                       PA0001242730
   Twin of Brothers, Ep. 41                       PA0001242739
   Twin of Brothers, Ep. 42                       PA0001242739
   Whatever It Takes, Ep. 1                       PA0001102787
   Whatever It Takes, Ep. 7                       PA0001102787
   Whatever It Takes, Ep. 8                       PA0001102787
   Whatever It Takes, Ep. 14                      PA0001102787
   Whatever It Takes, Ep. 17                      PA0001102787
   Whatever It Takes, Ep. 20                      PA0001102787
   Will Power, Ep.1                               PA0001884284
   Will Power, Ep. 5                              PA0001884284
   Will Power, Ep. 11                             PA0001884284
   Will Power, Ep. 16                             PA0001884284
   Will Power, Ep. 21                             PA0001884284
   Will Power, Ep. 26                             PA0001884284
   Will Power, Ep. 31                             PA0001884284
   Witness Insecurity, Ep. 1                      PA0001827051
   Witness Insecurity, Ep. 5                      PA0001827051
   Witness Insecurity, Ep. 10                     PA0001827051
   Witness Insecurity, Ep. 14                     PA0001827051



                                             14
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 57 of 74 Page ID
                                  #:23038
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 51 of 61 Page ID #:2632



          TITLE OF WORK AND EPISODE NUMBER        COPYRIGHT REGISTRATION NUMBER
   Witness Insecurity, Ep. 19                     PA0001827051
   Witness to a Prosecution, Ep. 1                PA0000980415
   Witness to a Prosecution, Ep. 8                PA0000980415
   Witness to a Prosecution, Ep. 15               PA0000980415
   Witness to a Prosecution, Ep. 16               PA0000980415
   Witness to a Prosecution, Ep. 22               PA0000980415




                                             15
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 58 of 74 Page ID
                                  #:23039
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 52 of 61 Page ID #:2633


                                                   Registered CCTV Programs

              Title of Work and Episode Number                     Date Broadcast   Copyright Registration Number

    Across the Strait, Ep. 265                             September 22, 2014       PAu 3-751-289
    Across the Strait, Ep. 266                             September 23, 2014       PAu 3-751-289
    Across the Strait, Ep. 267                             September 24, 2014       PAu 3-751-289
    Across the Strait, Ep. 268                             September 25, 2014       PAu 3-751-289
    Across the Strait, Ep. 270                             September 27, 2014       PAu 3-751-289
    Across the Strait, Ep. 271                             September 28, 2014       PAu 3-751-289
    Across the Strait, Ep. 277                             October 4, 2014          PAu 3-751-289
    Across the Strait, Ep. 278                             October 5, 2014          PAu 3-751-289
    Around China, Ep. 265                                  September 22, 2014       PAu 3-751-288
    Around China, Ep. 266                                  September 23, 2014       PAu 3-751-288
    Around China, Ep. 267                                  September 24, 2014       PAu 3-751-288
    Around China, Ep. 268                                  September 25, 2014       PAu 3-751-288
    Around China, Ep. 270                                  September 27, 2014       PAu 3-751-288
    Around China, Ep. 271                                  September 28, 2014       PAu 3-751-288
    Around China, Ep. 277                                  October 4, 2014          PAu 3-751-288
    Around China, Ep. 278                                  October 5, 2014          PAu 3-751-288
    Art Life, Ep. 37                                       September 25, 2014       PAu 3-751-290
    Art Life, Ep. 38                                       October 3, 2014          PAu 3-751-290
    Echo Clear, Ep. 38                                     September 26, 2014       PAu 3-751-295
    Echo Clear, Ep. 39                                     October 3, 2014          PAu 3-751-295
    Echo Clear, Ep. 41                                     October 5, 2014          PAu 3-751-295
    Fashion Infinite, Ep. 39                               September 28, 2014       PAu 3-751-281
    Fashion Infinite, Ep. 40                               October 5, 2014          PAu 3-751-281
    I want to go to the Spring Festival gala, Ep. 35       September 28, 2014       PAu 3-751-285
    I want to go to the Spring Festival gala, Ep. 36       October 5, 2014          PAu 3-751-285
    Star Walk, Ep. 31                                      September 25, 2014       PAu 3-751-292
    Star Walk, Special 3                                   October 3, 2014          PAu 3-751-292
    Star Walk, Special 4                                   October 4, 2014          PAu 3-751-292
    To a happy departure, Ep. 37                           September 22, 2014       PAu 3-746-792
    Variety Festival, Ep. 36                               September 23, 2014       PAu 3-751-293




                                                              16
 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 59 of 74 Page ID
                                   #:23040




Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 53 of 61 Page ID #:2634




                              EXHIBIT C
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 60 of 74 Page ID
                                   #:23041
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 54 of 61 Page ID #:2635



                                    Exhibit   – Infringing TVpad Apps


                                              TVpad3                          TVpad4


    Infringing TVpad App              Plaintiffs’ Programming         Plaintiffs’ Programming
           and icon                           and Mode                        and Mode


          BETV PLUS                                                CCTV 1 (live & replay live),
                                                                   CCTV 2 (live), CCTV 3 (live &
                                                                   replay live), CCTV 4 (live &
                                                                   replay live), CCTV6 (live &
                                                                   replay live), CCTV 10 (live),
                                                                   CCTV 11 (live), CCTV12 (live),
                                                                   CCTV13 (live & replay live),
                                                                   CCTV14 (live & replay live)


            BETV_HD                CCTV 1 HD (live), CCTV 5 HD
                                   (live)




             BETV II               CCTV 1 (live & replay live),
                                   CCTV 2 (live), CCTV 3 (live &
                                   replay live), CCTV 4 (live &
                                   replay live), CCTV 5 (live &
                                   replay live), CCTV 5+ (live),
                                   CCTV6 (live & replay live),
                                   CCTV 10 (live), CCTV 11
                                   (live), CCTV12 (live), CCTV13
                                   (live & replay live), CCTV14
                                   (live & replay live), CCTV风云
                                   足球（CCTV fengyun soccer)
                                   (live)




   DWT 26394458v1 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 61 of 74 Page ID
                                   #:23042
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 55 of 61 Page ID #:2636




                                             TVpad3                          TVpad4


    Infringing TVpad App              Plaintiffs’ Programming        Plaintiffs’ Programming
           and icon                           and Mode                       and Mode


              BETV                 CCTV 1, CCTV 2, CCTV 3,
                                   CCTV 4, CCTV 5+, CCTV6,
                                   CCTV 10, CCTV 11, CCTV12,
                                   CCTV13, CCTV14, CCTV风云
                                   足球（CCTV fengyun soccer)
                                   (all live)


           粵海時移                    JADE HD, JADE (both time-       JADE HD, JADE (both time-
        (Yue Hai Shi Yi)           shifted by 12 hours)            shifted by 12 hours)




          粵海寬頻                     JADE HD, JADE HD, J2,
      (Yue Hai Kuan Pin)           JADE, PEARL, iNews (all live)




          粵海寬頻2                    JADE HD, JADE, J2 (Live and
     (Yue Hai Kuan Pin 2)          replay live) PEARL, iNews
                                   (live)




                                                    2
   DWT 26394458v1 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 62 of 74 Page ID
                                   #:23043
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 56 of 61 Page ID #:2637




                                             TVpad3                         TVpad4


    Infringing TVpad App              Plaintiffs’ Programming       Plaintiffs’ Programming
           and icon                           and Mode                      and Mode


        港粤網絡電視                     JADE HD, JADE, J2 (live and   JADE HD, JADE, J2, PEARL
     (Gang Yue Wang Luo            replay live); PEARL, iNews    (live and replay live); iNews
          Dian Shi)                (live)                        (live)

                                   TVB programs on demand        TVB programs on demand




           粵海直播                    iNews, J2, PEARL, JADE,
        (Yue Hai Zhi Bo)           JADE HD (live)




              516TV                TVBS (live)




          516網路電視                  CCTV4 (live)                  CCTV4 (live)
        (516 Online TV)
                                   TVBS (live)                   TVBS (live)

                                                                 TVBS News (live)




                                                    3
   DWT 26394458v1 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 63 of 74 Page ID
                                   #:23044
Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 57 of 61 Page ID #:2638




                                             TVpad3                      TVpad4


    Infringing TVpad App             Plaintiffs’ Programming      Plaintiffs’ Programming
           and icon                          and Mode                     and Mode


               HITV                JADE HD, J2, JADE, PEARL,
                                   iNews (live)




            体育online               CCTV 1, CCTV 5, CCTV 5+,     CCTV 5, CCTV 5+, CCTV风云
          (Sport Online)           CCTV风云足球（CCTV                足球 (CCTV fengyun soccer),
                                   fengyun soccer) (all live)   CCTV 高尔夫. 网球 (CCTV
                                                                Golf/ Tennis) (all live)




          港粵快看                     TVB programs on demand
     (Gang Yue Kuai Kan)




    港台武俠(Gang Tai Wu               TVB programs on demand       TVB programs on demand
        Xia)




                                                   4
   DWT 26394458v1 0094038-000021
 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 64 of 74 Page ID
                                   #:23045




Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 58 of 61 Page ID #:2639




                                 EXHIBIT D
 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 65 of 74 Page ID
                                    #:23046
  Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 59 of 61 Page ID #:2640

                                                          EXHIBIT


Hosting Provider                   Observed Server         IP address or    Type of Content
                                   Location(s)             Domain Name      Delivered
                                   LIVE TV MODE VIDEO STREAMING SERVERS
Enzu                               Los Angeles, California  104.151.28.194  Streaming Video
Cloudddos Technology               Los Angeles, California  104.171.230.30  Streaming Video
Enzu                               Los Angeles, California  23.89.39.194    Streaming Video
Cloudddos Technology               San Jose, California     168.235.240.149 Streaming Video
ClearDDoS Technologies             Los Angeles, California  104.193.92.111  Streaming Video
Cloudddos Technology               San Jose, California     168.235.241.77  Streaming Video
ClearDDoS Technologies             Los Angeles, California  162.221.12.41   Streaming Video
ClearDDoS Technologies             Los Angeles, California  104.193.92.60   Streaming Video
Cloudddos Technology               San Jose, California     168.235.241.60  Streaming Video
Esited                             Los Angeles, California  104.171.230.23  Streaming Video
Esited                             Los Angeles, California  104.171.230.16  Streaming Video
Cloudddos Technology               San Jose, California     168.235.240.65  Streaming Video
Cloudddos Technology               San Jose, California     168.235.241.10  Streaming Video
ClearDDoS Technologies             Los Angeles, California  23.234.41.9     Streaming Video
Krypt Technologies                 Los Angeles, California  98.126.14.26    Streaming Video
                                TIME-SHIFTED MODE VIDEO STREAMING SERVERS
Cloudddos Technology               Los Angeles, California  104.171.230.30  Streaming Video
Cloudddos Technology               San Jose, California     168.235.240.149 Streaming Video
Los Angeles,California             Los Angeles, California  104.193.92.111  Streaming Video
Esited                             Los Angeles, California  192.225.233.202 Streaming Video
Enzu                               Los Angeles, California  104.151.28.194  Streaming Video
Enzu                               Los Angeles, California  199.48.69.146   Streaming Video
Enzu                               Los Angeles, California  23.89.39.194    Streaming Video
                                REPLAY LIVE MODE VIDEO STREAMING SERVERS
Cloudddos Technology               San Jose, California     168.235.241.70  Streaming Video
Cloudddos Technology               San Jose, California     104.171.230.72  Streaming Video
Cloudddos Technology               San Jose, California     168.235.241.77  Streaming Video
ClearDDoS Technologies             Los Angeles, California  162.221.12.215  Streaming Video
Cloudddos Technology               San Jose, California     168.235.241.60  Streaming Video
Cloudddos Technology               San Jose, California     168.235.241.70  Streaming Video
Cloudddos Technology               San Jose, California     104.171.230.72  Streaming Video
Cloudddos Technology               San Jose, California     168.235.241.77  Streaming Video
ClearDDoS Technologies             Los Angeles, California  162.221.12.215  Streaming Video
ClearDDoS Technologies             Los Angeles, California  162.221.12.215  Streaming Video
Krypt Technologies                 Los Angeles, California  67.198.192.3    Streaming Video
Cloudddos Technology               San Jose, California         168.235.241.77   Streaming Video
Cloudddos Technology               San Jose, California         104.171.230.72   Streaming Video
Cloudddos Technology               San Jose, California         168.235.241.60   Streaming Video
DWT 26394541v4 0094038-000021
  Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 66 of 74 Page ID
                                      #:23047
  Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 60 of 61 Page ID #:2641


Krypt Technologies              Los Angeles, California       98.126.14.26        Streaming Video
                                 VOD MODE VIDEO STREAMING SERVERS
Cloudddos Technology            Los Angeles, California 104.171.230.72            Streaming Video
ClearDDoS Technologies          Los Angeles, California 162.221.12.215            Streaming Video
Cloudddos Technology            San Jose, California    168.235.241.60            Streaming Video
Krypt Technologies              Los Angeles, California 98.126.14.26              Streaming Video
Cloudddos Technology            San Jose, California          168.235.241.77      Streaming Video
Leaseweb                        Manassas, Virginia            162.210.198.179     Streaming Video
Krypt Technologies              Los Angeles, California       67.198.192.3        Streaming Video
Krypt Technologies              Los Angeles, California       67.198.192.3        Streaming Video
                                        TVPAD DNS LOOKUP SERVERS
Hostspace Networks              Los Angeles, California xz.boxepg.com             DNS Lookup
Unicom                          China                                             TVpad Operational Content
Sharktech                       Los Angeles, California xzsec.boxepg.com          DNS Lookup
ClearDDoS Technologies          Las Angeles, California                           TVpad Operational Content
ClearDDoS Technologies          Newark, Delaware        xzsec.padepg.com          DNS Lookup
ClearDDoS Technologies          Los Angeles, California                           TVpad Operational Content
Sharktech                       Los Angeles, California xzsec.listebox.com        DNS Lookup
ClearDDoS Technologies          Los Angeles, California                           TVpad Operational Content
                                     TVPAD AUTHENTICATION SERVERS
ClearDDoS Technologies          Los Angeles, California stbepg.wsxlist.com        TVpad Authorization
ClearDDoS Technologies          Hong Kong               stbepg.bmsftr.com         TVpad Authorization
ClearDDoS Technologies          Los Angeles, California
                                            TVPAD STORE SERVERS
ClearDDoS Technologies          Newark, Delaware        bi.wsxlist.com            TVpad Store Menus/Graphics
ClearDDoS Technologies          Los Angeles, California
Datashack                       Kansas City, Missouri   cmsres.wsxlist.com        TVpad Store Menus/Graphics
CloudDDOS                       San Jose, California                              Infringing Apps
ClearDDoS Technologies          Los Angeles, California bi4.wsxlist.com           TVpad 4 Store Menus/Graphics
                                       TVPAD OPERATIONAL SERVERS
Sharktech                       Los Angeles, California epg.qaxlist.com           TVpad Operational Content
Hostpace Networks
ClearDDoS Technologies          Hong Kong                     sepg.qaxlist.com    TVpad Operational Content
CloudDDOS                       San Jose, California                              Infringing Apps’ Program Guides
ClearDDoS Technologies          Newark, Delaware              hsp2p.sinohao.com   TVpad Operational Content

ClearDDoS Technologies          Newark, Delaware              jqknb.khjdaq.com    TVpad Operational Content
ClearDDoS Technologies          Los Angeles, California
Hostspace Networks              Los Angeles, California       zmrt.kda8ifdi.com   TVpad Operational Content

Hostspace Networks              Los Angeles, California       zbuy.kda8ifdi.com   TVpad Operational Content

Hostspace Networks              Los Angeles, California       rtx.apljndc.net     TVpad Operational Content
China Telecom                   China
                                                          2
DWT 26394541v4 0094038-000021
 Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 67 of 74 Page ID
                                    #:23048
  Case 2:15-cv-01869-MMM-AJW Document 98 Filed 06/11/15 Page 61 of 61 Page ID #:2642

Nobis Technology                Los Angeles, California       tvepg.iyqwc.com      TVpad Operational Content
Nobis Technology                Phoenix, Arizona
Enzu                            Los Angeles, California       btvstb.xqlzoy.com    TVpad4 Operational Content
Protected by Cloudflare         Location unknown              ngdvc.gvplayer.com   TVpad4 Operational Content
Sharktech                       Los Angeles, California       vnpcg.gvppp.com      TVpad4 Operational Content
Chinanet                        China                         ysxup.gvppp.com      TVpad4 Operational Content
ClearDDoS Technologies          Los Angeles, California       apspu.gvppp.com      TVpad4 Operational Content
Hostspace                       Los Angeles, California       hkok.rfvlist.com     TVpad4 Operational Content
Hostspace                       Los Angeles, California       public.gvppp.com     TVpad4 Operational Content
Sharktech                       Los Angeles, California       canpic.vdese.com     VOD Thumbnail graphics
CloudDDOS                       San Jose, California




                                                          3
DWT 26394541v4 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 68 of 74 Page ID
                                  #:23049




                   Exhibit 2
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 69 of 74 Page ID
                                  #:23050



                                   U   Exhibit 2

Network            IP Address               Date Accessed       Function

ZeroDDOS           104.167.81.52            October 9, 2015     Streaming Video
ZeroDDOS           167.88.195.51            October 9, 2015     Streaming Video
ZeroDDOS           167.88.196.51            September 3, 2015   TVpad Operational
                                                                Content
ZeroDDOS           104.201.61.3             September 3, 2015   Streaming Video
ZeroDDOS           167.88.205.116           September 3, 2015   Streaming Video
ZeroDDOS           104.167.81.51            September 3, 2015   Streaming Video
ZERO DDOS LLC      104.167.81.52            June 26, 2015       Streaming Video
ZERO DDOS LLC      167.88.195.51            June 26, 2015       Streaming Video
ZERO DDOS LLC      104.167.81.52            June 25, 2015       Streaming Video
ZERO DDOS LLC      104.167.81.52            June 25, 2015       Streaming Video
ClearDDoS          104.193.92.29            October 9, 2015     TVpad
Technologies                                                    Authorization

ClearDDoS          23.234.41.173            October 9, 2015     Streaming Video
Technologies
ClearDDoS          104.193.92.42            October 9, 2015     Streaming Video
Technologies
ClearDDoS          104.193.92.129           October 9, 2015     Streaming Video
Technologies
ClearDDoS          104.193.92.139           October 9, 2015     Streaming Video
Technologies
ClearDDoS          103.240.140.142          September 3, 2015   DNS Lookup
Technologies                                                    TVpad Operational
                                                                Content
ClearDDoS          104.193.92.29            September 3, 2015   TVpad Store
Technologies                                                    Menus/ Graphics
                                                                Infringing Apps
ClearDDoS          162.221.15.79            September 3, 2015   TVpad Operational
Technologies                                                    Content
ClearDDoS          162.221.15.79            September 3, 2015   TVpad Operational
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 70 of 74 Page ID
                                  #:23051



Technologies                                              Content
ClearDDoS          162.221.15.79      September 3, 2015   TVpad Operational
Technologies                                              Content
ClearDDoS          162.221.15.79      September 3, 2015   TVpad Operational
Technologies                                              Content
ClearDDoS          162.221.15.79      September 3, 2015   TVpad Operational
Technologies                                              Content
ClearDDoS          162.221.15.79      September 3, 2015   TVpad Operational
Technologies                                              Content
ClearDDoS          162.221.12.143     September 3, 2015   TVpad
Technologies                                              Operational
                                                          Content
ClearDDoS          104.193.92.42      September 3, 2015   Streaming Video
Technologies
ClearDDoS          162.221.13.98      September 3, 2015   Streaming Video
Technologies
ClearDDoS          162.221.15.179     June 26, 2015       TVpad 3
Technologies                                              Operational
                                                          Content
ClearDDoS          103.240.140.142    June 24, 2015       DNS Lookup
Technologies                                              TVpad Operational
                                                          Content
ClearDDoS          104.193.92.29      June 24, 2015       TVpad
Technologies                                              Authorization

ClearDDoS          104.193.92.8       June 24, 2015       TVpad Store
Technologies                                              Menus/ Graphics
                                                          Infringing Apps
ClearDDoS          162.221.12.143     June 24, 2015       TVpad4
Technologies                                              Operational
                                                          Content
ClearDDoS          162.221.13.44      June 24, 2015       TVpad4
Technologies                                              Operational
                                                          Content
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 71 of 74 Page ID
                                  #:23052




  ClearDDoS          104.193.92.29      January 30, 2015   TVpad
  Technologies                                             Authorization
  ClearDDoS          103.240.140.149    January 30, 2015   TVpad4 Store
  Technologies                                             Menus/Graphics

  ClearDDoS          162.221.13.44      January 30, 2015   TVpad4
  Technologies                                             Operational
                                                           Content
  Clearddos          104.193.92.111     January 30, 2015   Streaming Video
  Technologies
  Clearddos          162.221.12.41      January 30, 2015   Streaming Video
  Technologies
  Clearddos          104.193.92.60      January 30, 2015   Streaming Video
  Technologies
  Clearddos          23.234.41.9        January 30, 2015   Streaming Video
  Technologies
  Clearddos          162.221.12.215     January 30, 2015   Streaming Video
  Technologies
  Clearddos          162.221.12.215     January 30, 2015   Streaming Video
  Technologies
  ClearDDoS          104.193.92.111     January 23, 2015   Streaming Video
  Technologies
  Clearddos          162.221.12.215     January 23, 2015   Streaming Video
  Technologies
  Clearddos          162.221.12.215     January 23, 2015   Streaming Video
  Technologies
  ClearDDoS          23.234.42.66       November 25,       TVpad Store
  Technologies                          2014               Menus/Graphics
  ClearDDOS          104.193.92.62      June 25, 2015      Streaming Video
  Esited             104.171.230.23     January 30, 2015   Streaming Video
  Esited             104.171.230.16     January 30, 2015   Streaming Video
  Esited             192.225.233.202    January 23, 2015   Streaming Video
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 72 of 74 Page ID
                                  #:23053



                                   Exhibit 2

Network            IP Address           Date Accessed       Function

ZeroDDOS           104.167.81.52        October 9, 2015     Streaming Video
ZeroDDOS           167.88.195.51        October 9, 2015     Streaming Video
ZeroDDOS           167.88.196.51        September 3, 2015   TVpad Operational
                                                            Content
ZeroDDOS           104.201.61.3         September 3, 2015   Streaming Video
ZeroDDOS           167.88.205.116       September 3, 2015   Streaming Video
ZeroDDOS           104.167.81.51        September 3, 2015   Streaming Video
ZERO DDOS LLC      104.167.81.52        June 26, 2015       Streaming Video
ZERO DDOS LLC      167.88.195.51        June 26, 2015       Streaming Video
ZERO DDOS LLC      104.167.81.52        June 25, 2015       Streaming Video
ZERO DDOS LLC      104.167.81.52        June 25, 2015       Streaming Video
ClearDDoS          104.193.92.29        October 9, 2015     TVpad
Technologies                                                Authorization

ClearDDoS          23.234.41.173        October 9, 2015     Streaming Video
Technologies
ClearDDoS          104.193.92.42        October 9, 2015     Streaming Video
Technologies
ClearDDoS          104.193.92.129       October 9, 2015     Streaming Video
Technologies
ClearDDoS          104.193.92.139       October 9, 2015     Streaming Video
Technologies
ClearDDoS          103.240.140.142      September 3, 2015   DNS Lookup
Technologies                                                TVpad Operational
                                                            Content
ClearDDoS          104.193.92.29        September 3, 2015   TVpad Store
Technologies                                                Menus/ Graphics
                                                            Infringing Apps
ClearDDoS          162.221.15.79        September 3, 2015   TVpad Operational
Technologies                                                Content
ClearDDoS          162.221.15.79        September 3, 2015   TVpad Operational
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 73 of 74 Page ID
                                  #:23054



Technologies                                              Content
ClearDDoS          162.221.15.79      September 3, 2015   TVpad Operational
Technologies                                              Content
ClearDDoS          162.221.15.79      September 3, 2015   TVpad Operational
Technologies                                              Content
ClearDDoS          162.221.15.79      September 3, 2015   TVpad Operational
Technologies                                              Content
ClearDDoS          162.221.15.79      September 3, 2015   TVpad Operational
Technologies                                              Content
ClearDDoS          162.221.12.143     September 3, 2015   TVpad
Technologies                                              Operational
                                                          Content
ClearDDoS          104.193.92.42      September 3, 2015   Streaming Video
Technologies
ClearDDoS          162.221.13.98      September 3, 2015   Streaming Video
Technologies
ClearDDoS          162.221.15.179     June 26, 2015       TVpad 3
Technologies                                              Operational
                                                          Content
ClearDDoS          103.240.140.142    June 24, 2015       DNS Lookup
Technologies                                              TVpad Operational
                                                          Content
ClearDDoS          104.193.92.29      June 24, 2015       TVpad
Technologies                                              Authorization

ClearDDoS          104.193.92.8       June 24, 2015       TVpad Store
Technologies                                              Menus/ Graphics
                                                          Infringing Apps
ClearDDoS          162.221.12.143     June 24, 2015       TVpad4
Technologies                                              Operational
                                                          Content
ClearDDoS          162.221.13.44      June 24, 2015       TVpad4
Technologies                                              Operational
                                                          Content
Case 2:15-cv-01869-SVW-AJW Document 218-22 Filed 10/17/17 Page 74 of 74 Page ID
                                  #:23055




 ClearDDoS          104.193.92.29      January 30, 2015   TVpad
 Technologies                                             Authorization
 ClearDDoS          103.240.140.149    January 30, 2015   TVpad4 Store
 Technologies                                             Menus/Graphics

 ClearDDoS          162.221.13.44      January 30, 2015   TVpad4
 Technologies                                             Operational
                                                          Content
 Clearddos          104.193.92.111     January 30, 2015   Streaming Video
 Technologies
 Clearddos          162.221.12.41      January 30, 2015   Streaming Video
 Technologies
 Clearddos          104.193.92.60      January 30, 2015   Streaming Video
 Technologies
 Clearddos          23.234.41.9        January 30, 2015   Streaming Video
 Technologies
 Clearddos          162.221.12.215     January 30, 2015   Streaming Video
 Technologies
 Clearddos          162.221.12.215     January 30, 2015   Streaming Video
 Technologies
 ClearDDoS          104.193.92.111     January 23, 2015   Streaming Video
 Technologies
 Clearddos          162.221.12.215     January 23, 2015   Streaming Video
 Technologies
 Clearddos          162.221.12.215     January 23, 2015   Streaming Video
 Technologies
 ClearDDoS          23.234.42.66       November 25,       TVpad Store
 Technologies                          2014               Menus/Graphics
 ClearDDOS          104.193.92.62      June 25, 2015      Streaming Video
 Esited             104.171.230.23     January 30, 2015   Streaming Video
 Esited             104.171.230.16     January 30, 2015   Streaming Video
 Esited             192.225.233.202    January 23, 2015   Streaming Video
